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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


Jared Goyette, Craig Lassig, Michael                        Court File No. 20-cv-01302
Shum, Katie Nelson, Tannen Maury,                                        (WMW/DTS)
Stephen Maturen, and The
Communications Workers of America,
On behalf of themselves and other
similarly situated individuals,

               Plaintiffs,
        v.                                             SECOND AMENDED CLASS
                                                       ACTION COMPLAINT AND
 City of Minneapolis; Minneapolis Chief              DEMAND FOR A JURY TRIAL
 of Police Medaria Arradondo in his
 individual and official capacity;
 Minneapolis Police Lieutenant Robert
 Kroll, in his individual and official
 capacity; Minnesota Department of
 Public Safety Commissioner John
 Harrington, in his individual and official
 capacity, Minnesota State Patrol Colonel
 Matthew Langer, in his individual and
 official capacity; John Does 1-10, in their
 individual and official capacities;

               Defendants.


       For their Second Amended Complaint, Plaintiffs state and allege as follows:

                                    INTRODUCTION

       During the protests arising out of the George Floyd murder, the Minneapolis Police

and the Minnesota State Patrol tear-gassed, pepper-sprayed, shot in the face with rubber

bullets, arrested without cause, and threatened journalists at gunpoint, all after these

journalists identified themselves or were otherwise clearly engaged in their reporting
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duties. These were not isolated incidents. The protests were marked by an extraordinary

escalation of unlawful force deliberately targeting reporters.

       The ostensible leaders of our law enforcement agencies publicly said the right things

in the wake of this police lawlessness but failed to curb the violence. Governor Walz and

others repeatedly issued statements apologizing for the violence against reporters and the

unlawful arrests.     But these statements, and whatever behind-the-scenes actions

accompanied them, were not enough and the attacks continued.

       This pattern and practice of conduct by law enforcement and the reckless and

deliberate indifference of leadership to this conduct tramples on the Constitution. It

violates the sacrosanct rights to freedom of speech and freedom of the press that form the

linchpin of a free society. It constitutes a pattern of unreasonable force and unlawful

seizures under the Fourth Amendment. And it deprives liberty without a modicum of due

process protected by the Fifth and Fourteenth Amendments.

       The violence against journalists has ceased, for now. But the chill on their First

Amendment right to document the protests continues, as does the physical damage done

by Defendants’ violence.

       Plaintiffs bring this action and ask the Court to restrain Defendants from further

violence and unconstitutional conduct and to provide relief for the damage done.

                                        PARTIES

       1.     Plaintiff Jared Goyette is a Minnesota resident who lives in the city of

Minneapolis. Goyette is a freelance journalist who works for national and international

news publications.


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      2.      Plaintiff Craig Lassig is a Minnesota resident and freelance photographer.

He has been a freelancer since 2008, and his clients include AP, Reuters, the NY Times,

and the European Pressphoto Agency (“EPA”).          Prior to 2008, Lassig worked as a

photographer for Sun Newspapers.

      3.      Plaintiff Michael Shum is a resident of Denver, Colorado but currently

resides in Saint Paul, Minnesota due to the COVID19 pandemic. Shum is a freelance

videographer and has worked for CNN International, France 24, National Geographic, and

the New York Times.

      4.      Plaintiff Katie Nelson is a freelance journalist, photographer and filmmaker

from Nairobi, Kenya. She is currently residing in Minneapolis, Minnesota due to the

COVID-19 pandemic. Her work has been published by The New York Times, National

Geographic, BBC, Al Jazeera, The Telegraph, Associated Press and Public Radio

International, among others. She is also the Vice Chair of the Foreign Correspondents’

Association of East Africa.

      5.      Plaintiff Tannen Maury is a photographer with the European Pressphoto

Agency (“EPA”). Prior to working for the EPA, Maury was a staff photographer for AP

and as a contract photographer for Reuters and AFP. He is an Illinois resident.

      6.      Plaintiff Stephen Maturen is a freelance photographer based in Minneapolis.

Maturen’s clients include the New York Times, the Wall Street Journal, USA TODAY, and

Getty Images. Maturen is a Minnesota resident.

      7.      Plaintiff The Communications Workers of America (“CWA”) is an

international labor union representing over 700,000 workers in a broad range of industries,


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including print and broadcast news media, telecommunications, airline, manufacturing,

education, public service, and healthcare, among others.          CWA’s central purpose is

protecting the rights of workers through collective bargaining and public advocacy. CWA’s

headquarters is in Washington, DC; its members work and live throughout the United States,

including Minnesota. CWA is comprised of multiple sectors and districts representing

members in different industries. The News-Guild CWA (“NewsGuild”) is an affiliate union

of the CWA. NewsGuild members include many on the reporting staff of the Los Angeles

Times, the Chicago Tribune, the Detroit Free Press, the Denver Post, Reuters, the

Associated Press, the Washington Post, the New York Times, the St. Paul Pioneer Press,

and the Minneapolis Star Tribune, among others.

       8.     Plaintiffs either live in or intend to return to Minnesota to cover future

newsworthy events, including both small- and large-scale protests. Plaintiffs also intend to

cover similar protests and gatherings throughout the United States as part of their

journalistic activities. Plaintiffs fear that they will be subjected to similar unlawful actions

by law enforcement, including Defendants, as they conduct their job duties in the future.

       9.     Defendant City of Minneapolis is a municipality incorporated in the State of

Minnesota.

       10.    Defendant Medaria Arradondo is the Minneapolis Chief of Police and a

Minnesota resident.

       11.    Defendant Robert Kroll is a Lieutenant in the Minneapolis Police

Department, the president of the Police Officers Federation of Minneapolis (“the




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Federation”), and a Minnesota resident. Kroll has been a member of the Federation Board

since 1996 and Federation President since 2015.

       12.    Defendant John Harrington is the Minnesota Commissioner of Public Safety

with supervisory responsibility over Colonel Matthew Langer and the Minnesota State

Patrol. Commissioner Harrington is a Minnesota resident.

       13.    Defendant Colonel Matthew Langer commands the Minnesota State Patrol.

Colonel Langer is a Minnesota resident.

       14.    Defendants John Does are unidentified individuals who committed the acts

and omissions set forth below as agents of the City of Minneapolis, Minneapolis Police

Department, and the Minnesota State Patrol.

                                    JURISDICTION

       15.    Plaintiffs’ claims arise under 42 U.S.C. § 1983, the Fourteenth Amendment

to the United States Constitutions, and the First and Fourth Amendments, as incorporated

against the States, their agencies, and their municipal divisions through the Fourteenth

Amendment.

       16.    Jurisdiction is proper in this Court according to 28 U.S.C. § 1331 because

Plaintiffs’ claims arise under the United States Constitution and federal law.

                                    BACKGROUND

A.     GEORGE FLOYD’S MURDER AND THE ENSUING UNREST.

       17.    On Monday May 25, 2020, George Floyd, a citizen of Minneapolis, was

murdered by an officer of the Minneapolis Police Department (“MPD”). The events of

Floyd’s arrest and murder were captured on video by multiple bystanders as well as


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individual officers’ body cameras. The videos depicted Mr. Floyd pinned on the street,

face down and increasingly unresponsive, while MPD Officer Derek Chauvin knelt on Mr.

Floyd’s upper back and neck, two officers held him down, and another stood by. All four

officers were soon fired by the City. Derek Chauvin has been charged with second- and

third-degree murder and manslaughter. The other officers have also been charged.

        18.   The videos were widely and rapidly disseminated around the world via social

media and news media platforms. Mr. Floyd’s murder became international breaking

news.

        19.   Over the next five days and nights, thousands of people gathered across

Minneapolis to protest and mourn Mr. Floyd’s murder. Some of the protests grew in

intensity, and isolated bad actors used the protests to engage in the looting and burning of

hundreds of buildings in Minneapolis and Saint Paul.

        20.   The public unrest became international breaking news. Numerous members

of the news media arrived to cover the demonstrations and unrest and the government

response.

        21.   Many confrontations occurred during this period between the MPD and State

Patrol, and groups of demonstrators, in which law enforcement, without any forewarning,

deployed less-lethal ballistics and chemical irritants against the demonstrators.

        22.   It is abnormal in situations of public unrest for law enforcement to engage in

potentially injurious riot control tactics without issuing clear warnings and orders to

disperse.




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       23.    In addition to confronting civilian demonstrators, the MPD and State Patrol

also aggressively confronted members of the news media providing on-the-scene coverage.

Numerous journalists reported injuries sustained as a result of law enforcement’s use of

riot control tactics against clearly identifiable members of the news media. In one high-

profile incident, CNN correspondent Omar Jimenez was arrested on national television

despite asking the State Patrol to “put us back where you want us, we are getting out of

your way.” 1 Mr. Jimenez was only released after a personal phone call from CNN president

Jeff Zucker to Minnesota Governor Tim Walz. 2

       24.    Governor Walz acknowledged that arresting members of the news media

providing coverage of breaking news stories was improper and said that “there is absolutely

no reason something like this should happen . . . . In a situation like this, even if you’re

clearing an area, we have got to ensure that there is a safe spot for journalism to tell this

story. The issue here is trust, the community that’s down there that’s terrorized by this, if

they see a reporter being arrested, their assumption is something is going to happen that

they don’t want to be seen so that is unacceptable.” 3

       25.    Despite Governor Walz’s assurances that the role of the media would be

fostered and respected, the MPD, State Patrol, and other law enforcement authorities

continued to target and intimidate members of the news media in a concerted effort to chill

protected First Amendment activity.


1
  https://apnews.com/eadfe65c7ce593d04c0aef7eb0276e22.
2
  https://www.startribune.com/cnn-reporter-arrested-on-live-tv-let-go-after-gov-tim-walz-
intervened/570860202/
3
  https://www.cnn.com/2020/05/29/politics/tim-walz-minnesota-cnn-arrest/index.html

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B.     CURFEWS ESTABLISHED BY EXECUTIVE ORDER.

       26.    Due to widespread threat to personal safety and property, Governor Walz

mobilized the Minnesota National Guard.

       27.     Governor Walz also issued an executive order establishing a curfew,

effective from 8:00 p.m. to 6:00 a.m. on Friday, May 29 and Saturday, May 30. 4 The

Governor re-issued the curfew order for Sunday, May 31. (“Curfew Orders”). 5 The Curfew

Orders apply to “all public places within the City of Minneapolis and the City of Saint

Paul[.]” The curfews expired on Friday, June 5, 2020.

       28.    The Curfew Orders mandate that “[d]uring the curfew, all persons must not

travel on any public street or in any public place.”

       29.    The Curfew Orders contain exceptions to the travel prohibition, however:

“All law enforcement, fire, medical personnel, and members of the news media . . . are

exempt from the curfew. Individuals traveling directly to and from work, seeking

emergency care, fleeing dangerous circumstances, or experiencing homelessness are also

exempt.”

       30.    The City of Minneapolis implemented a nearly identical curfew order that

exempted members of the news media.




4
  Minn. Exec. Order No. 20-65 (May 29, 2020),
https://mn.gov/governor/assets/EO%2020-65%20Final_tcm1055-434635.
5
  Minn. Exec. Order No. 20 68 (May 31, 2020),
https://mn.gov/governor/assets/EO%2020-68%20Final_tcm1055-434305.

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       31.    Upon information and belief, there is no system in place for members of the

media to apply for or obtain official credentials from the Minneapolis Police Department

or the State Patrol.

       32.    Throughout the duration of the protests, both before and after the Governor’s

and the City of Minneapolis curfew orders, the Defendants acted in communication and

coordination with one another in responding to the George Floyd protests and in

committing the constitutional violations described below.

       33.    Command staff from both the Minnesota State Patrol and MPD were in

regular communication and coordination during the George Floyd protests regarding crowd

control techniques, use of chemical agents and less-lethal ballistics and other crowd control

technologies, and tactical deployment of officers and troopers, including the protest

responses that resulted in the violation of constitutional rights described below.

       34.    Defendants coordinated activities during the protests in part through the

activities of the Multi-Agency Command Center (“MACC”) set up to respond to the

George Floyd Protests. Per the Department of Public Safety:

              The MACC serves as a unified command of federal, state and
              local law enforcement and public safety agencies supporting
              the state’s response to any unrest that develops following the
              death of George Floyd. Agencies represented in the MACC
              include the Minnesota Department of Public Safety (State
              Patrol, Bureau of Criminal Apprehension, Alcohol and
              Gambling Enforcement, Division of Homeland Security and
              Emergency Management, State Fire Marshal division,
              Minnesota State Patrol); National Guard; Minneapolis Police
              Department; Saint Paul Police Department; Metro Transit
              Police; Bloomington Police; University of Minnesota Police;
              Sheriff departments from Ramsey County, Hennepin County,



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             Anoka County, Dakota County, Washington County; and the
             FBI. 6

      35.    According to July 9, 2020 legislative testimony from Commissioner

Harrington, functional control of all law enforcement responding to the protests devolved

to the Department of Public Safety and ultimately to Commissioner Harrington, with the

sole exception of the Minneapolis Police. 7 Per Commissioner Harrington, the State Patrol

and other agencies under command of the Department of Public safety acted “in concert”

with the MPD. MPD “was not able to dictate missions to the State Patrol,” but they were

able to make requests. Commissioner Harrington and his staff would then vet the requests

and inform the MPD if it could take on the requested mission. Senior officials from MPD

were always present at the MACC to facilitate coordination with the State Patrol and the

other state agencies minute-by-minute as the protests unfolded.

      36.    Like their command staffs, MPD officers and State Patrol troopers at the

protest scenes worked literally side-by-side and in coordination in responding to the

George Floyd protests. 8




6
  https://dps.mn.gov/divisions/ooc/news-releases/Pages/multi-agency-command-center-
report-on-civil-unrest.aspx
7
  http://mnsenate.granicus.com/player/clip/5416?view_id=1
8
  E.g., https://media.vanityfair.com/photos/5ed72084d991ee5f708bd991/master
/w_1600%2Cc_limit/george-floyd-protests-minneapolis-montgomery-18.jpg,
https://reason.com/2020/06/08/video-shows-cops-slashing-tires-across-minneapolis-
during-george-floyd-protests/


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C.     DEFENDANTS’ UNCONSTITUTIONAL ACTIONS                              AGAINST        THE
       PRESS COVERING THE RECENT PROTESTS.

       37.    Even though members of the news media were expressly exempt from the

Curfew Orders, Defendants ignored the exemption. Even when members of the news

media clearly identified themselves, Defendants continued to target and intimidate the

press by threatening them, spraying chemical irritants, and firing less-lethal ballistics

designed for riot control directly at members of the media. Defendants further interfered

with the news media’s right to cover public events by arresting journalists despite the lack

of any probable cause to do so, refusing access to areas where events were unfolding and

creating obstacles to reporters’ movement about the city. These incidents constitute

flagrant infringements on the constitutional rights of individual reporters as well as the

public’s interest in the dissemination of accurate information and accountability of

government for its actions.

       38.    The violence, intimidation, detention, and arrest of journalists, separately and

collectively, had and is continuing to have a chilling effect on the First Amendment rights

of the Plaintiffs and the Plaintiff Class, as well as other individuals seeking to lawfully

exercise their First Amendment rights in the City of Minneapolis.

       39.    The unlawful actions of the Defendants include but are not limited to the

following incidents.

                                        ARRESTS

       40.    On May 29, a Minnesota State Patrol trooper handcuffed and arrested CNN

reporter Omar Jimenez and his news crew during a live broadcast. It was daytime, there



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were no protesters around, and Jimenez asked the State Patrol where they should position

themselves prior to being arrested, stating, “Put us back where you want us, we are getting

out of your way, just let us know.” When Jimenez further pressed the trooper who arrested

him why he was being arrested, the trooper stated, “Look, I don’t know man, I’m just

following orders.” The crew was readily identifiable as a CNN news crew and identified

themselves as such repeatedly before being handcuffed and arrested. 9 The crew was

detained for an hour.

       41.    Later that day, in response to the arrest of Jimenez and his crew, Governor

Walz issued the following statement:

              So to CNN, to the CNN team, to the journalists here, this is
              about having a plan, and that’s what these folks are going to
              talk about. This is about having an aggressive approach to
              understanding what the community needs, to not coming in
              heavy-handed with them but to create space where the story
              can be told. In a situation like this, even if you’re clearing an
              area, we have got to ensure that there is a safe spot for
              journalism to tell the story. The issue here is trust. The
              community that’s down there that’s terrorized by this, if they
              see a reporter being arrested, their assumption is it’s because
              something’s going to happen that they don’t want to be seen.
              And so that is unacceptable. We will continue to strive to make
              sure that that accessibility is maintained. Not only that, the
              protection and security and safety of the journalists covering
              this is a top priority, not because it is a nice thing to do, because
              it is a key component of how we fix this. Sunshine, disinfectant
              and seeing what’s happening has to be done. 10




9
  https://www.nytimes.com/2020/05/29/business/media/cnn-reporter-arrested-omar-
jimenez.html
10
   https://www.washingtonpost.com/opinions/2020/05/29/minnesota-governor-issues-
   spectacular-apology-arrest-cnn-crew/

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       42.    Governor Walz’s apology and plea to law enforcement to treat journalists

with respect and allow them to document the protests clearly fell on deaf ears, as the

unconstitutional arrests of journalists and unlawful violence against journalists escalated

significantly over the next several days.

       43.    On May 30, Plaintiffs Tannen Maury, Stephen Maturen, and Craig Lassig

were arrested and charged with curfew violations despite having identified themselves as

members of the press, as detailed in paragraphs 113-120 below. 11

       44.    On May 30, a Minnesota State Patrol trooper forced WCCO videographer

Tom Aviles to the ground and arrested him even though Aviles had identified himself as a

member of the press and was carrying a large video camera. 12 Video footage shows there

were no protesters within 50 yards of Aviles, and he was not obstructing law enforcement. 13

State Patrol shouted at him to “get back.” He responded, “where do I go, I’m with WCCO.”

He then tried to retreat into a parking lot, shouting for his producer, Joan Gilbertson. The

State Patrol continued to pursue him into the parking lot. At this point, Aviles wasn’t even

within 50 yards of the police line moving up the street adjacent to the parking lot.

Gilbertson also identified herself as a journalist. A State Patrol trooper told her, “You’ve

been warned, or the same thing will happen to you. Or you’re next.” Aviles spent two

hours in custody. Earlier police had shot Aviles with a less-lethal projectile even though



11
   https://twitter.com/MJKauz/status/1267273646621499392
12
   https://www.startribune.com/wcco-cameraman-arrested-on-video-while-covering-
unrest-in-minnesota/570902742/
13
   https://minnesota.cbslocal.com/2020/05/30/wcco-photojournalist-tom-aviles-arrested-
   in-south-minneapolis/

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he was filming them with a large video camera at the time and was clearly identifiable as

a member of the press. 14

       45.    While covering the protests on May 31, Star Tribune reporter Liz Sawyer

identified herself as a journalist to Minneapolis Police. She was told, “we don’t care, we’ll

arrest you.” 15 Earlier that evening, Sawyer was standing with Star Tribune reporter Chao

Xiong, two Kurdish journalists, and one Japanese journalist. Minneapolis Police officers

told them to go home. When the group identified themselves as press and showed their

credentials, an officer said, “Your cards are bullshit.” 16

       46.    On May 31, NBC reporter Simon Moya-Smith was arrested by the

Minneapolis Police despite identifying himself multiple times as a reporter and displaying

his press badge for the arresting officer. 17 Moya-Smith was pepper sprayed during the

arrest. At approximately 2:00 a.m., he was walking with a dozen or so activists who were

on their way home from the protests in honor of George Floyd. The group was a few blocks

west from the location where George Floyd was murdered when they were surrounded by

6 to 8 police cruisers. The officer in the passenger side of the lead car swung the door

open, shouting, “Get on the ground! Get the fuck on the ground!” She pepper-sprayed the

entire group one by one while they laid on the ground, peaceably complying with the

officer’s order to remain still. One of the group members, a Native American woman who



14
   https://minnesota.cbslocal.com/2020/05/30/wcco-photojournalist-tom-aviles-arrested-
in-south-minneapolis/
15
   https://twitter.com/ByLizSawyer/status/1266984068765409280
16
   https://twitter.com/ChaoStrib/status/1266959110265856000
17
   https://twitter.com/SimonMoyaSmith/status/1267054164774916096

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is an attorney, asked, “Are you literally maceing us?” The female officer responded by

pepper spraying her in the face.

       47.    Another police officer approached Moya-Smith, while officers in the

background laughed. The officer asked his name. He responded, “My name is Simon

Moya-Smith. I am a reporter with NBC News. My press badge is on my chest.” A third

officer approached Moya-Smith, saying, “Roll on your side, Mr. Journalist. You’re going

to be charged with, I don’t know, breaking curfew.”

       48.    About 10 to 15 minutes later, Moya-Smith was still lying face down on the

concrete sidewalk. A fourth officer approached, pulled him up by his right bicep, and

walked him to a nearby police cruiser. Moya-Smith told this officer, “I am a journalist

with NBC News.” This officer eyed the press badge that was suspended from Moya-

Smith’s neck, shrugged, and loaded Moya-Smith into the back of the police cruiser. He

was taken to the Fifth Precinct and after identifying himself as a member of the media

again, to the officer who was beginning to book him, he was released. 18

       49.    Early on the morning of May 31, an Australian television news team led by

Tim Arvier was detained and searched by Minneapolis Police after identifying themselves

as members of the press.      During this detention the news team’s cameraman was

handcuffed despite clearly being a member of the news media and being no threat to

anyone. 19



18
   The allegations in paragraphs 46-48 are derived in part from the Declaration of Simon
Moya-Smith, attached as Exhibit 1 to the First Amended Complaint.
19
   https://twitter.com/TimArvier9/status/1266969637817909250

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         50.   On May 31, a German television news crew from the Deutsche Welle

network was threatened with arrest by the State Patrol despite having clearly identified

themselves as members of the press. 20 Earlier that evening, law enforcement had shot at

the DW crew with less-lethal projectiles despite (or because of) the crew being obviously

identifiable as a news crew doing a live report and shouting, “we’re press,” at the officers.21

         51.   MPD Policy 9-200(IV)(1) prohibits arrest and detention of the individuals

recording police activity except under very limited circumstances that were not present in

any of the incidents described above. Specifically, the policy authorizes detention or arrest

only where a person interferes with officer activity. Per the policy, a person is not

“interfering” if he or she is “recording officers’ activity from a safe distance, without any

action to obstruct the activity or threaten the safety of the officer . . .” Even when those

circumstances are present (which they were not here), officers must call a supervisor to the

scene before detention or arrest.

         52.   MPD’s actions in detaining and arresting journalists during the Floyd

protests violated this policy. The violations were repeated and widespread and involved

numerous different individual officers throughout the MPD. The number and scope of the

violations reflects the MPD’s ongoing failure to train and supervise its officers in

accordance with its own ostensibly official policies.

         53.   Similarly, the State Patrol’s unconstitutional arrests and detention of

journalists was widespread and involved numerous different individual troopers and


20
     https://twitter.com/N_Waters89/status/1267090303867125766
21
     https://twitter.com/rafaelshimunov/status/1267824036878278659

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commanders throughout the State Patrol. The number and scope of the violations reflects

the State Patrol’s ongoing failure to train and supervise its troopers.

                               USE OF PHYSICAL FORCE

       54.     On May 26, Star Tribune reporter Andy Mannix was shot in the thigh with a

less-lethal projectile while documenting the protests. 22

       55.     On May 27, Minnesota Reformer reporter Max Nesterak was shot in the chest

by a less-lethal projectile while documenting the protests. 23 He was filming the protests,

and there were no protesters near him when he was shot.

       56.     These early police attacks on journalists were widely documented in social

media and covered by the press, including Time Magazine, and Defendants were on notice

that officers were targeting journalists with less-lethal projectiles and violating journalists’

constitutional rights. 24

       57.     On May 29, freelance photographer Philip Montgomery was covering the

protests at the Third Precinct. 25 He was standing away from the protesters with a group of

other news photographers, including Scott Olson from Getty Images, Victor Blue of the

New York Times, John Minchillo from AP, and Lucas Jackson from Reuters. All the

photographers had their press badges out and visible, and they were documenting the



22
   https://twitter.com/AndrewMannix/status/1265447846079315973
23
   https://twitter.com/maxnesterak/status/1265863514754813952
24
   E.g., https://time.com/5843070/george-floyd-minneapolis-protest-police-death/ (“A
Minneapolis Star Tribune reporter said he was shot in the thigh with what appeared
to be a foam bullet.”).
25
   The facts alleged in Paragraphs 57-60 are drawn in part from the Declaration of Phillip
Montgomery submitted in support of this Complaint.

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protests with their professional photography gear. Minchillo was wearing a vest with

“PRESS” written on the front in large letters. The group was clearly identifiable as

journalists and was not standing amidst or near the protestors. They were not obstructing

any crowd control activity being undertaken by law enforcement. They were not provoking

law enforcement. They were simply standing to the side documenting what was going on.

Around midnight, law enforcement moved to clear out the protests.

      58.     At that same time, without warning, a group of law enforcement officers –

Minneapolis Police and Minnesota State Patrol – moved in front of the small cluster of

photographers and began to advance. As they closed in on the photographers, the officers

fired tear gas canisters and rubber bullets directly into the group. One officer advanced

until he was roughly 15 feet away from Montgomery. The officer raised and pointed his

riot control gun at Montgomery and fired a less-lethal projectile into Montgomery’s chest.

The officer aimed directly at Montgomery even though he was clearly identified as a

member of the press.

      59.     The force of the blow from the projectile shocked Montgomery, and he still

has a large bruise from where he was hit, directly over his heart. The injury affected his

ability to continue documenting and reporting on the protests. Other photographers in that

group were also hit, including Lucas Jackson, Victor Blue, and John Minchillo. The

troopers and officers clearly targeted the group even though they were obviously

journalists, not provoking or obstructing law enforcement, and were merely standing

peaceably to the side exercising their First Amendment rights. Minchillo stated in a social

media post, “No distinctions were made . . . when I and my colleagues were hit by officers.


                                            18
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Last night was full force in a wide spread. This is a protocol that I’ve not seen elsewhere.” 26

The guns used to fire these less-lethal projectiles are equipped with sights for precision

aiming, as shown in this photograph taken by Minchillo:




       60.    On May 30, Los Angeles Times reporter Molly Hennessy-Fiske and

photographer Carolyn Cole were reporting on protests at the Minneapolis Police Fifth

Precinct building. 27 The two were wearing their press credentials, and Cole wore a flak

jacket labeled “TV.” They were standing on the sidewalk of a street bordering the Fifth

Precinct building with a group of roughly 20 other journalists. At around 8:30 p.m., a

bullhorn announced, “this is the Minnesota State Patrol” and informed protesters that they


26
  https://twitter.com/johnminchillo/status/1267116569223725059
27
  The facts in paragraphs 60-64 are drawn in part from the Declaration of Carolyn Cole
(“Cole Dec.”), attached as Exhibit 2 to the First Amended Complaint, and the Declaration
of Molly Hennessy-Fiske (“Hennessy-Fiske Dec.”), attached as Exhibit 3 to the First
Amended Complaint.

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must disperse because they were violating curfew. A line of law enforcement officers

proceeded up the street, clearing it of protesters. Hennessy-Fiske, Cole, and the group of

journalists huddled against a wall of the Fifth Precinct building that abutted the sidewalk.

Because they were journalists, they were exempt from the curfew. Moreover, they were

clearly separate from the protesters, who were on the opposite side of the street. There was

no legitimate law enforcement reason to force the group of journalists to move, let alone

assault them.

         61.    Hennessy-Fiske expected the law enforcement officers walking up the street

to pass by the journalists. Instead, the officers turned toward the journalists and started

firing less-lethal projectiles into the group. No protesters were nearby. Hennessy-Fiske

shouted, “We’re reporters!” “Wait!” and “Where do we go!” at the officers, and she waved

her notebook at them. 28 The officers did not respond. The officers were only several feet

away at this point, and they fired again into the group of journalists. Hennessy-Fiske was

hit at least five times in the leg with less-lethal projectiles, and her leg was bleeding. Cole

was shot in the face with pepper spray. The officer was firing from so close a distance,

Cole could feel the full force of the pepper spray go into her left ear and eye. Cole suffered

damage to her left cornea from the pepper spray. She is currently unable to do her job as

a photographer due to the injury.

         62.    The journalists piled on top of each other in an attempt to get away from the

police assault. Hennessy-Fiske pleaded with the officers to tell her where to go but received



28
     https://www.latimes.com/world-nation/story/2020-05-30/la-reporter-tear-gas-police

                                              20
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no answer. The officers just kept firing. When the group of journalists tried to flee, the

officers chased them and fired more less-lethal projectiles. Hennessy-Fiske saw NBC

photojournalist Ed Ou next to her, stunned and bleeding from the face. Hennessy-Fiske

continued to flee the officers and they cornered her against another wall. She scaled it and

sought shelter in the nearest building, a senior center.

       63.     The group of press that Cole was with also ran from the firing officers. They

tried to move along the precinct wall, but it was not clear to where the officers wanted the

journalists to go. The officers were yelling “Move! Move!” and continued firing on the

journalists. Cole was unable to see, so she followed along the wall with the other journalists

until they reached another wall that was about 4 feet high that she could not get over. The

officers pursued the journalists into the corner yelling “Get out! Now!” Cole responded

repeatedly, “I’m trying. I’m trying. I’m trying.” A patrol officer told Cole that she had to

get out of there, lifted Cole up onto the wall, and Cole fell over to the other side. Cole

stumbled blindly through the neighborhood until local residents helped her and gave her a

bucket to wash her face. Because Cole’s face continued burning, one of the local residents

drove her to the emergency room along with Hennessy-Fiske, who had reconnected with

Cole by this point. While they were driving to the hospital, police fired a paint ball gun at

the car marking it with red paint. Cole had to stop covering the protests at this point due

to the injury to her eye. 29




29
  https://www.latimes.com/world-nation/story/2020-06-01/they-came-toward-us-firing-
pepper-spray-and-rubber-bullets

                                             21
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         64.   Hennessy-Fiske has covered protests involving police in Ferguson, Baton

Rouge, Dallas, and Los Angeles. She has covered the United States military in war zones,

including Iraq and Afghanistan. But she has never been fired at by police until her

reporting in Minnesota. Cole has covered conflicts both nationally and internationally for

many years. She is familiar with the dangers involved in such situations, especially when

reporters get between riot police and protesters. But she was shocked when the police

directly attacked her and Hennessy-Fiske. In fact, this was the first time in Cole’s 25 years

of reporting for the Los Angeles Times that she has been injured covering a protest or other

event.

         65.   On May 30, Star Tribune reporters Ryan Faircloth and Chao Xiong were

trying to leave the protests in Faircloth’s car. They mistakenly turned down a street that

was blocked off at the end. Before they could turn around, the State Patrol fired less-lethal

projectiles at the car, without warning. Later, when Faircloth was driving alone out of the

area, officers again fired less-lethal rounds at Faircloth’s vehicle, injuring Faircloth and

blowing out the windows of the car. 30

         66.   On May 30, freelance journalist Linda Tirado was photographing the protests

when police or troopers shot her in the face with a less-lethal projectile. She is now

permanently blind in her left eye. 31 “I would say there is no way that anyone had looked

at me and not known that I am a working journalist,” she stated in an interview with the




30
     https://twitter.com/RyanFaircloth/status/1266954131324928003
31
     https://www.nytimes.com/2020/05/30/us/minneapolis-protests-press.html

                                             22
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New York Times. “That said, police have been pretty clear that they don’t care if you are

a working journalist.”

       67.    On May 30 Minneapolis Police fired less-lethal projectiles at CBS reporter

Michael George and his news crew, hitting sound engineer John Marschitz and severely

bruising Marschitz’s arm. 32 The crew was not standing within 500 feet of any protesters

at the time and had their credentials displayed and their cameras out. 33 In video of the

incident, one of the crew members can be heard saying “they’re sighting us in” as the less-

lethal projectiles came closer and closer. 34

       68.    On May 30, police or troopers fired less-lethal projectiles at an MSNBC news

crew, including reporter Ali Velshi, hitting Velshi in the leg. 35 After this incident, Velshi

and another TV crew were confronted by police in a nearly deserted parking lot. The group

informed the police that they were news media. The officers responded, “we don’t care,”

and began firing on the group with less-lethal projectiles.

       69.    During the protests, a Fox 9 TV news crew was driving in their news van,

with a placard placed on their windshield clearly indicating that the van belonged to Fox 9

News, when law enforcement fired less-lethal projectiles into the windshield, shattering it.




32
   https://twitter.com/MikeGeorgeCBS/status/1266919447970942986
33
   https://twitter.com/MikeGeorgeCBS/status/1266916104951214080
34
   https://www.washingtonpost.com/politics/police-turn-more-aggressive-against-
protesters-and-bystanders-alike-adding-to-violence-and-chaos/2020/05/31/588ad218-
a32f-11ea-b619-3f9133bbb482_story.html
35
   https://www.washingtonpost.com/lifestyle/media/journalists-at-several-protests-were-
injured-arrested-by-police-while-trying-to-cover-the-story/2020/05/31/bfbc322a-a342-
11ea-b619-3f9133bbb482_story.html

                                                23
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       70.    On May 30, Reuters TV cameraman Julio-Cesar Chavez was filming police

when one aimed a less-lethal projectile gun at directly at Chavez. Later that evening, in a

separate incident, police fired directly at Chavez and his crew with less-lethal projectiles. 36

Chavez was hit in the back of his neck, under his left eye, and in his arm. A member of

his crew was also hit. They were clearly identifiable as press at the time. 37

       71.    On May 30, photojournalist Lucas Jackson was pepper sprayed in the face

and also shot in the back with a less-lethal projectile. 38 Jackson stated in a social media

post, “It’s not that we were being shot because we were between cops and protesters. It’s

that we were shot at if we were anywhere in line of sight. I’ve been hit because I was in

the wrong place before. I’ve never been aimed at so deliberately so many times when I

was avoiding it.” 39

       72.    On May 30, CBC senior news correspondent Susan Ormiston was hit in the

shoulder by a less-lethal projectile and in the back by a tear gas canister. At the time she

was shot, she was in a parking lot that had been cleared of protesters, and she and her crew

were clearly identifiable as media. 40




36
   https://www.reuters.com/article/us-minneapolis-police-protest-update/reuters-camera-
crew-hit-by-rubber-bullets-as-more-journalists-attacked-at-us-protests-idUSKBN237050
37
   https://www.washingtonpost.com/lifestyle/media/journalists-at-several-protests-were-
injured-arrested-by-police-while-trying-to-cover-the-story/2020/05/31/bfbc322a-a342-
11ea-b619-3f9133bbb482_story.html
38
   https://twitter.com/Lucas_Jackson_/status/1266666583012892672
39
   https://twitter.com/Lucas_Jackson_/status/1267114291532046338
40
   https://twitter.com/mcquillanator/status/1266915485741993996

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       73.    On May 30, Minneapolis Police fired a flash bang grenade directly into an

MSNBC news crew led by reporter Morgan Chesky, despite the fact that Chesky was live

on television and he and his crew were clearly identifiable as news media. 41

       74.    On May 30, a Univision cameraman clearly identifiable as a member of the

media was shot with a less-lethal projectile. The projectile hit the battery used to power

his large commercial video camera, and the battery exploded, burning the cameraman.

       75.    On May 30, NBC News photographer Ed Ou was pepper sprayed directly in

the face from several feet away by State Patrol troopers and shot with a less-lethal

projectile. 42 Ou was standing out of the way of police, documenting the protests, and

clearly identifiable as a member of the press, with his press badge out. His own footage

documents him stumbling down the sidewalk behind the front lines of the protest after this

assault, bloody and blind, begging for help and identifying himself as a member of the

press as he passes by several Minneapolis Police officers who ignore him. 43 Ou required

medical attention and received 4 stiches to close the wound inflicted by the State Patrol. 44

       76.    Among the munitions used against journalists were the 40mm Skat Shell

(which is a delivery device for chemical agents) and the Direct Impact LE 40mm Extended

Range Round.




41
   https://twitter.com/AndyRowell/status/1266946038373347328
42
   https://www.theguardian.com/us-news/2020/jun/06/george-floyd-protests-reporters-
press-teargas-arrested
43
   https://twitter.com/edouphoto/status/1267981849537609728
44
   https://twitter.com/edouphoto/status/1267958349477249024


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       77.     According to Defense Technology, Inc., the manufacturer of the 40mm Skat

Shell: “The 40mm Skat Shell® is designed for outdoor use and has fire producing

capability. It is not intended for barricade penetration. Do NOT fire directly at personnel,

as serious injury or death may result.” 45

       78.     Defense Technology, Inc., also manufactures the Direct Impact 40mm

Extended Range Round. It states: “The Direct Impact® Extended Range Round should

only be used at ranges beyond 10 meters, targeting the subject’s lower torso or extremities.

Impacts closer than 10 meters or targeting the subject’s head, neck, or upper torso can result

in serious injury or death.” 46

       79.     The MPD’s own use of force policy prohibits using the 40mm projectiles as

they were deployed during the George Floyd protests, stating: “Officers shall not deploy

40mm launchers for crowd management purposes.” Instead, the 40mm projectiles are to

be used with “combative, non-compliant, armed and/or otherwise violent subjects . . . .” 47

       80.     The MPD use of force policy further warns against firing 40mm projectiles

at an individual’s head or chest: “Officers shall be aware that the delivery of the 40mm

impact projectiles to certain parts of the human body can cause grievous injury that can

lead to a permanent physical or mental incapacity or possible death. Areas susceptible to

death or possible severe injury are the head, neck, throat and chest (in vicinity of the


45
   https://www.defense-technology.com/on/demandware.static/-/Sites-DefenseTech-
Library/default/dw66a06e0e/product-pdfs/less-lethal/40mm_Skat_Shell.pdf
46
   https://www.defense-technology.com/on/demandware.static/-/Sites-DefenseTech-
Library/default/dw7cc762e7/product-
pdfs/40mm%20Direct%20Impact%20LE%20Extended%20Range%20Round.pdf
47
   http://www.minneapolismn.gov/police/policy/mpdpolicy_5-300_5-300

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heart).” The policy indicates that firing 40mm rounds at the chest or head constitutes the

use of “deadly force.” 48

         81.   On information and belief, MPD and the Minnesota State Patrol fired both

the Skat Shell and the Direct Impact Round at journalists in a manner contrary to the

manufacturer’s warnings and likely to cause injury, in contravention of their own written

policies on use of force, and in fact resulting in injury in numerous instances. For example,

Plaintiff Goyette was struck in the face with a 40mm round and injured. Journalist Linda

Tirado was struck in the face and blinded in one eye by a 40mm round. Photojournalist

Philip Montgomery was struck directly above the heart at close range by a 40mm round.

Any one of these three individuals could have been killed by this outrageous and wholly

unjustified use of deadly force. MPD’s use of precision gunsights to aim directly at

protesters’ and journalists’ heads and hearts shows that these officers acted with actual

malice and with the intent to severely and potentially critically injure protesters and

journalists.

         82.    MPD officers repeatedly violated its policy regarding use of force during

the George Floyd protests. These violations were repeated and widespread and involved

numerous different individual officers throughout the MPD. The number and scope of the

violations and their continued occurrence day after day reflects the MPD’s ongoing failure

to train and supervise its officers in accordance with its own ostensibly official policies.




48
     http://www.minneapolismn.gov/police/policy/mpdpolicy_5-300_5-300

                                             27
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       83.    Similarly, the State Patrol’s unconstitutional use of force against of

journalists was widespread and involved numerous different individual troopers and

commanders throughout the State Patrol. The number and scope of the violations reflects

the State Patrol’s ongoing failure to train and supervise its troopers.

                              USE OF CHEMICAL AGENTS

       84.    On May 28, Star Tribune columnist Jennifer Brooks was standing at a light

rail station on S. 5th Street documenting the protests in a group of other media members.

Several Minneapolis Police squad cars drove by unimpeded. As Squad Car 181 passed the

journalists, the driver’s side window rolled down and the driver indiscriminately pepper

sprayed Brooks, other media members, and nearby protesters. 49

       85.    On May 29, USA Today reporter Tyler Davis was covering the protests in

downtown Minneapolis. Several squad cars pulled up at his location. Police got out of the

squad cars and began indiscriminately spraying pepper spray canisters in every direction

and telling people to move north. Davis was filming two young women being pepper

sprayed to his left, when the officer doing the spraying turned to Davis. Davis identified

himself as a member of the media, and the officer “laid on the trigger for a few seconds”

spraying Davis directly in the face. 50

       86.    On May 30, Minneapolis Police aimed a rifle directly at Vice magazine

journalist Michael Adams while Adams was covering the protests. At the time, Adams



49
  https://twitter.com/stribrooks/status/1266186985041022976
50
  https://www.usatoday.com/story/opinion/2020/05/29/george-floyd-protests-leave-usa-
today-reporter-hit-chemical-spray/5282374002/

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and other journalists clustered near him were holding up their press passes. Shortly

thereafter, a Minneapolis Police officer approached Adams with a weapon pointed directly

at him and threw him to the ground. He was displaying his press pass and shouting “press.”

The officer responded, “I don’t care.” Adams was on his knees, alone, clearly not a threat,

and was surrounded by more than a dozen officers. 51 The officer who threw Adams down

told him not to move. Adams complied. Another officer slowly walked by Adams. When

Adams again said, “I’m Press,” and held up his credential, this officer casually pepper-

sprayed Adams directly in the face from several inches away, then continued strolling

while Adams writhed on the ground in agony. 52

        87.       KSTP investigative reporter Ryan Raiche, his photographer, and his

producer, were gathered together with a group of other media members during protests on

the evening of May 30 outside the Fifth Precinct. Most had large cameras, boom mikes,

or visible press credentials. The group was clearly identifiable as media and not spread out

among the protesters. They were pinned against a wall together as a police line advanced.

Police walked up to the group and indiscriminately pepper sprayed the entire group of

journalists. 53

        88.       On May 30, Star Tribune photographer Anthony Souffle was tear gassed by

police or troopers. 54




51
   https://twitter.com/MichaelAdams317/status/1267203751913422849
52
   https://twitter.com/MichaelAdams317/status/1266945268567678976?s=20
53
   https://twitter.com/ryanraiche/status/1267021649959845888
54
   https://twitter.com/AnthonySouffle/status/1267122936105893892

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         89.   The MPD use of force policy states that Chemical Agents “shall not be used

against persons who are only displaying Passive Resistance as defined by policy.” It

further states that officers “shall exercise due care to ensure that only intended persons are

exposed to the chemical agents.” 55

         90.   MPD officers wantonly violated these policies in its use of chemical agents

against journalists and others during the George Floyd protests. These violations were

repeated and widespread and involved numerous different individual officers throughout

the MPD. The number and scope of the violations and their continued occurrence day after

day reflects the MPD’s ongoing failure to train and supervise its officers in accordance

with its own ostensibly official policies.

         91.   Similarly, the State Patrol’s unconstitutional use of chemical agents against

of journalists was widespread and involved numerous different individual troopers and

commanders throughout the State Patrol. The number and scope of the violations reflects

the State Patrol’s ongoing failure to train and supervise its troopers.

                USE OF THREATENING LANGUAGE AND GESTURES

         92.   On May 30, Star Tribune reporter Chris Serres was twice ordered at gunpoint

by Minneapolis Police to “hit the ground,” and warned that “if [he] moved an inch [he’d]

be shot,” despite prominently displaying his Star Tribune press badge for the police. 56 He

had already been tear gassed and shot in the groin with a less-lethal projectile earlier in the

day.


55
     http://www.minneapolismn.gov/police/policy/mpdpolicy_5-300_5-300
56
     https://twitter.com/ChrisSerres/status/1267098060938776581

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       93.      Maggie Koerth, a reporter for the website FiveThirtyEight was covering the

protests from a sidewalk on May 30. A Minneapolis Police officer drew a weapon on

Koerth and Plaintiff Jared Goyette. Koerth and Goyette said “press, press” and held up

their press badges. The officer continued to point the gun at Koerth and told Koerth to

“Shut up.” 57

       94.      On May 30, MPR reporter Madeleine Baran was covering the protests with

American Public Media journalist Samara Freemark. A Minneapolis police officer pointed

a weapon at their heads. When they identified themselves as press, the officer did not lower

his weapon, so they ran for cover and ended their reporting for the night. 58

       95.      On May 31, Minneapolis Police officers in a truck pulled up to a group of

reporters, including Star Tribune reporter Andrew Mannix, pointed a “large gun” at the

group and shouted, “do you know what curfew is?” After notifying the officers that they

were journalists and walking to their cars, the police ordered them to leave the area. 59

       96.      Graphic images taken during the protests show the trauma wrought by

Defendants’ unconstitutional actions.




57
   https://www.nytimes.com/2020/06/01/business/media/reporters-protests-george-
floyd.html?smid=tw-share
58
   https://twitter.com/madeleinebaran/status/1266610933071138816
59
   https://twitter.com/AndrewMannix/status/1266968276481052672?s=20

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       97.    Below is a photograph of NBC video and photojournalist Ed Ou, who was

pepper sprayed and hit with a less-lethal projectile:




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       98.    Below is a photograph of freelance journalist Linda Tirado. The Minneapolis

Police permanently blinded Ms. Tirado in her left eye with a less-lethal projectile.




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         99.   Below is the photograph Ms. Tirado took immediately before the police took

a potshot at her head and blinded her. 60




60
     https://www.patreon.com/posts/38226327


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      100.   Below is a photograph of KSTP reporter Ryan Raiche after being pepper

sprayed despite identifying himself as a member of the press:




                                           35
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       101.   Below is a photo that Reuters cameraman Julio-Cesar Chavez took of police

taking direct aim at him despite his being clearly identifiable as a member of the press:




                                            36
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102.   Below is an image of the arrest of Omar Jimenez and his news crew:




                                   37
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       103.   Below are images published by Molly Hennessey-Fiske of the types of less-

lethal projectiles that law enforcement fired at journalists.




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         104.   Below is a photograph of Molly Hennessy-Fiske’s injuries one week after

law enforcement shot her with less-lethal projectiles. 61




61
     https://twitter.com/mollyhf/status/1269008792194297866


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D.     NAMED-PLAINTIFF JARED GOYETTE.

       105.    Plaintiff Jared Goyette is a freelance journalist. At all times relevant to this

Complaint, Plaintiff was working on assignment as a contract journalist with a national

publication.

       106.    At around 5:00 p.m. on May 27, 2020, Goyette was observing and

documenting the demonstrations near the MPD’s Third Precinct, located at the intersection

of Lake Street and Minnehaha Avenue. MPD officers protecting the Third Precinct were

firing ballistic rounds, marker rounds, and tear gas intermittently and without warning or

orders for dispersal.

       107.    Goyette was clearly a member of the news media. He carried a camera and

a monopod (a single, long leg used to stand a camera on for stability), notepad, and mobile

phone. These items would have been visible to the MPD stationed on top of and outside

the Third Precinct.

       108.    Goyette was standing 30 to 50 yards from the Third Precinct when he saw a

young man who appeared to be severely injured. Goyette went towards the man to

document the incident.

       109.    Goyette was shot in the face with less-lethal ballistic ammunition shortly

after other bystanders took the injured young man from the scene. MPD provided no

warning for this use of force. Goyette was standing alone and there was no one else within

several feet of Goyette.




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       110.   Goyette suffered immediate physical injury to his nose and eye and, as a

result, had to leave the scene and cease journalistic activities for the evening. After

receiving medical treatment, Goyette ventured back to the demonstrations to continue to

provide press coverage.

       111.   In the days after his injury, Goyette experienced several instances of

intimidating and obstructive behavior from Defendants. For example, he was told to “Shut

up” by an officer after identifying himself as press. In another instance, an officer passing

by Plaintiff and another female reporter shouted at them, “I want to fucking peg you.”

      112.    Goyette intends to continue documenting and reporting on additional protests

and other First Amendment protected expression, and the police response to these protests.

E.     NAMED-PLAINTIFFS CRAIG                  LASSIG,      TANNER        MAURY,       AND
       STEPHEN MATUREN. 62

      113.    Plaintiff Craig Lassig is a Minnesota resident and freelance photographer.

He has been a freelancer since 2008, and his clients include AP, Reuters, the NY Times,

and the European Pressphoto Agency (“EPA”).           Prior to 2008, Lassig worked as a

photographer for Sun Newspapers.

      114.    Plaintiff Tannen Maury is a photographer with the European Pressphoto

Agency (“EPA”). Prior to working for the EPA, Maury was a staff photographer for AP

and as a contract photographer for Reuters and AFP. He is an Illinois resident but was in

Minneapolis to cover the George Floyd protests from May 27-June 1.



62
 The allegations in this section are drawn from the Declaration of Craig Lassig (“Lassig
Dec.”), attached to the First Amended Complaint as Exhibit 5.)

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       115.    Plaintiff Stephen Maturen is a freelance photographer based in Minneapolis.

Maturen’s clients include the New York Times, the Wall Street Journal, USA TODAY, and

Getty Images. He covered the George Floyd protests for Getty Images.

       116.    On May 30, Lassig was covering the George Floyd protests for EPA, along

with Maury, who had traveled to Minneapolis from Chicago to cover the protests with

Lassig. Maturen had joined with Maury and Lassig to travel together for safety during the

protests.

       117.    Lassig, Maury, and Maturen were documenting protests occurring near the

5th precinct police station in Minneapolis, at 31st and Nicollet. Early that evening, the police

began to disburse the protesters, pushing them up 1st Avenue toward downtown. Police

fired tear gas and less-lethal projectiles and shot fleeing protesters in the back.

       118.    Because the situation had gotten violent, Lassig, Maury, and Maturen left the

scene and proceeded up Nicollet Avenue to regroup and decide what to do next. They

stopped in the parking lot of a restaurant on Nicollet Avenue to discuss where they should

go next. They were nowhere near any protesters, and they were the only three individuals

standing in the parking lot. Likewise, there were no police in sight.

       119.    As they stood in the parking lot talking, several law enforcement vehicles

drove down 28th Avenue in front of the restaurant. One of the cruisers stopped and officers

and/or troopers got out. 63 Lassig, Maury, and Maturen all had their press badges displayed


63
  Maury and Maturen remember the officers wearing brown shirts, suggesting that they
were Minnesota State Patrol. Lassig remembers the officers wearing blue shirts,
suggesting that they were Minneapolis Police.


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at the time, and all were carrying professional camera gear. They verbally identified

themselves as news media to the officers. One officer said, “we don’t fucking care,” and

ordered the group onto the ground. They complied. The officers handcuffed Lassig, Maury,

and Maturen, searched all their belongings, and seized their photography gear. Then they

placed the three handcuffed journalists into a police van and drove them downtown. The

three journalists sat handcuffed in the van for about an hour. Then they were booked,

fingerprinted, and cited for violating the curfew, despite again identifying themselves as

members of the press. After roughly two hours in custody, they were released.

       120.    Earlier that evening, Lassig and Maury had been with a larger group of

journalists covering the protests near the Third Precinct, including an NBC film crew.

Lassig saw Minneapolis Police officers mace journalists, deliberately shoot journalists with

less-lethal projectiles, and chase journalists, all of whom were clearly identified as

journalists, were standing apart from the protesters, and were not obstructing or provoking

the police. Lassig was shocked at the aggressive and hostile attitude of the police toward

journalists.

       F.      NAMED PLAINTIFF MICHAEL SHUM 64

        121.   On May 28, Plaintiff Michael Shum was covering the protests for the New

York Times. He was positioned outside the Third Precinct, roughly 50 feet from any

protesters. He had a large shoulder-mounted camera and was clearly identifiable as a



64
  The allegations in this section are drawn from the Declaration of Michael Shum
(“Shum Dec.”).)


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member of the press. Minneapolis Police fired flash-bang grenades directly at Shum while

he was filming, and those munitions exploded right in front of his camera, despite the fact

that Shum was standing alone with no protesters around. At around 9 p.m. that night,

police began to disperse the protesters who had gathered in front of the precinct. Shum

was still about 50 feet away from any protesters, filming with a shoulder-mounted camera.

Minneapolis Police officers nonetheless began shooting less-lethal projectiles and tear gas

at Shum and a group of other journalists gathered nearby, including Star Tribune

photographer Richard Song-Tatari. Police did not give any warning or order to disperse

before opening fire on Shum. One projectile ricocheted off a wall or the ground and hit

Shum in the side. Another projectile hit Shum directly in the foot. His foot swelled up and

he has been having difficulty walking since then.

       122.   On May 30, Shum was again covering the protests for the New York Times.

In the early evening, around dusk, Minnesota State Patrol troopers began moving down a

street on which Shum and several other journalists were standing, filming the protests.

Again, Shum was filming with a large shoulder mounted camera and clearly acting as a

member of the news media. As Minneapolis Police and State Patrol pushed down the

block, firing tear gas and projectiles, Shum and other journalists took shelter in a little gated

area off the sidewalk. Shum continued to film as the troopers approached, and then turned

to try and escape this area when the troopers also left the sidewalk and pursued the

journalists into the gated area where they were sheltering. By this time, it was clear to

Shum that law enforcement was attacking journalists with impunity and he sought to escape

the gated area. Shum climbed onto a half wall, hoping if he got to the other side he would


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be protected from attack by the police. As he climbed onto the wall, two State Patrol

troopers approached and shoved him off the wall. As they shoved Shum, one of the

troopers said, “get the fuck off of there.” Shum fell to the ground on the opposite side of

the wall and suffered several scratches, bruises, and cuts. The officers who pushed Shum

off the wall knew he was a journalist. He was not among any protesters, was not impeding

the advance of any law enforcement personnel and was merely seeking shelter with other

journalists in this little enclosed area.

       G.      NAMED PLAINTIFF KATIE NELSON

       123.    Plaintiff Katie G. Nelson is a freelance journalist, photographer and

filmmaker in Nairobi, Kenya. Her work has been published by The New York Times,

National Geographic, BBC, Al Jazeera, The Telegraph, Associated Press and Public Radio

International, among others. She is also the Vice Chair of the Foreign Correspondents’

Association of East Africa. During the George Floyd protests, Nelson was working on

contract with the New York Times.

       124.    Nelson was working with Mike Shum as a producer on the night of May 28,

2020, the night that the Third Precinct burned down. At around 9:30 p.m., police began

lobbing tear gas and flash bang grenades into the crowd Shum and Nelson were filming.

The police intentionally shot directly at Shum and Nelson several times with tear gas

canisters, despite the fact that Shum was filming the protests with large commercial camera

gear. At the time, Nelson was standing with her arms up yelling “press” at law enforcement

as Shum crouched in front of her while filming. MPD directly targeted Shum and Nelson

despite the fact that they were clearly media and not protesters.


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       125.    On May 30, 2020, Nelson was working again with Shum. They were filming

the peaceful protests occurring on Nicollet Avenue behind the Fifth Precinct. At 8:05 p.m.,

MPD officers announced that the crowd was in violation of the curfew and began advancing

up the street in riot gear by the dozens. 20 seconds after the announcement, and before

anyone who wanted to leave could vacate the area, the police began firing tear gas, flash

bang grenades, and rubber bullets into the crowd.

       126.    Shum and Nelson were standing with a group of other members of the press,

away from the protesters. Law enforcement began to fire at them even though they were

clearly members of the news media and exempt from the curfew. Nelson started running

when law enforcement began to fire directly at them.

       127.    On left hand side of the sidewalk was a concrete alcove shaped like a triangle.

A gate on one side was open. Nelson thought that if the group of journalists could get into

the alcove, they would be safe from the police, could assess the situation and get out. Nelson

quickly realized, however, that there was no exit to the alcove. As law enforcement pushed

toward the group of journalists, Nelson grabbed her assistant Courtney and they ran out of

the alcove and into the street. The police fired rubber bullets at them. Other members of

the press ran into alcove and stayed. Some were beaten there, and Shum was pushed over

the wall.

       128.    Shum and Nelson regrouped and continued filming. At several points, they

were boxed into sections of the street by police officers armed with tear gas and flash bangs.

Whenever the officers told Shum and Nelson to leave the area, Nelson responded, “We’re

press!” and waved her hands above her head as Shum continued to film. At one point, police


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officers made a line across a street blocking the ability to exit on one side of the road. Shum

and Nelson continued filming this, and at one point, a male officer holding the line started

yelling “I’m gonna get her,” in reference to Nelson. He was looking at Nelson and pointing

his tear gas gun at her. At the time, Shum and Nelson were clearly identifiable as journalists.

       129.    Around 12am that evening, Nelson was driving away from the protests to try

and get to the George Floyd memorial. Nelson turned onto a street that was blocked off at

one end by National Guard vehicles and police with riot gear. There were cars behind her

and it was almost impossible to turn around as cars were lined on both sides of the street.

She turned on her right blinker to indicate that she would pull over and try to exit through

an alleyway between the line of officers and her car. The officers gave no direction or

indication how individuals who had turned down this street were supposed to turn around

given the cars behind them and the cars parked on the street. Nelson moved very slowly

forward, trying to get in position to turn around. Her car windows were open, and she

shouted “we’re press, we’re press” at the officers at the end of the street. They shouted

back, “we don’t care,” and began to shoot pepper bullets or some other less-lethal projectiles

at Nelson. She heard the projectiles pinging off the roof of her car. She was terrified but

somehow managed to turn around while the police fired at her.

       H.      NAMED-PLAINTIFF CWA

       130.    Plaintiff The Communications Workers of America (“CWA”) is an

international labor union representing over 700,000 workers in a broad range of industries,

including print and broadcast news media, telecommunications, airline, manufacturing,

education, public service, and healthcare, among others.         CWA’s central purpose is


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protecting the rights of workers through collective bargaining and public advocacy. CWA’s

headquarters is in Washington, DC; its members work and live throughout the United States,

including Minnesota. CWA is comprised of multiple sectors and districts representing

members in different industries. The News-Guild CWA (“NewsGuild”) is an affiliate union

of the CWA. NewsGuild represents journalists and media members across America. The

guild has roughly 14,000 dues paying members. NewsGuild members include many on the

reporting staff of the Los Angeles Times, the Chicago Tribune, the Detroit Free Press, the

Denver Post, Reuters, the Associated Press, the Washington Post, the New York Times, the

St. Paul Pioneer Press, and the Minneapolis Star Tribune, among others. (Declaration of

Jon Schluess (“Schluess Dec.”) ¶ 1-2 (attached as Exhibit 4 to the First Amended

Complaint).)

       131.    Many of the individual reporters and photojournalists affected by police

violence and intimidation against the news media at the George Floyd protests are

represented by the NewsGuild (and by extension the CWA), including all of the Star

Tribune journalists mentioned by name in this Complaint. Los Angeles Times journalists

Molly Hennessy-Fiske and Carolyn Cole, who were shot with pepper spray and less-lethal

projectiles as described in paragraphs 60-64 above, are also NewsGuild members. (Cole

Dec. ¶ 1; Hennessy-Fiske Dec. ¶ 1.)

       132.    Because some of the NewsGuild’s affected members, and their news

organizations, report on the Minneapolis Police and Minnesota State Patrol as part of their

journalism, ethical considerations that guide reporting make directly suing those

organizations as individual plaintiffs complicated if not impossible. (Schluess Dec. ¶ 4.)


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       133.   Article I, Section 2 of the NewsGuild Constitution provides:

              SECTION 2. The purpose of the Guild shall be to advance the
              economic interests and to improve the working conditions of
              its members; to guarantee, as far as it is able, equal
              employment and advancement opportunity in the industry and
              constant honesty in news, editorials, advertising, and business
              practices; to raise the standards of journalism and ethics of the
              industry; to foster friendly cooperation with all other workers;
              and to promote industrial unionism in the jurisdiction of the
              Guild.

      134.    And Article III of the CWA Constitution likewise provides:

              The objects of the Union shall be: (a) To unite the workers
              within its jurisdiction in a single cohesive labor union for the
              purpose of collective effort; (b) To improve the conditions of
              the workers with respect to wages, hours, working conditions
              and other conditions of employment; (c) To disseminate
              information among the workers respecting economic, social,
              political and other matters affecting their lives and welfare; (d)
              To advance the interests of the workers by advocating the
              enactment of laws beneficial to them and the defeat or repeal
              of laws detrimental to them; (e) To do all things which may be
              necessary or proper to secure for the workers the enjoyment of
              their natural rights.

       135.   These foundational provisions of the international labor union and its sector

Constitutions undergird CWA’s participation in this lawsuit. Essentially, they provide that

all CWA members, including NewsGuild-CWA members, agree to work together, through

the auspices of their union, to ensure that members work under safe and lawful conditions.

(Schluess Dec. ¶ 7.)

       136.   NewsGuild members have been targeted by the recent police violence in

Minneapolis. Members have had their speech chilled. And Members have been assaulted

and injured by both Minneapolis Police and the Minnesota State Patrol and been subjected



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to other unconstitutional conduct by those agencies and their officers, agents, and

employees.

                            MUNICIPAL ALLEGATIONS

       I.     THE STATE AND MUNICIPAL DEFENDANTS

       137.   The City of Minneapolis, Minneapolis Chief of Police Medaria Arradondo,

Minneapolis Police Lieutenant Robert Kroll, Minnesota Department of Public Safety

Commissioner John Harrington, and Minnesota State Patrol Colonel Matthew Langer, in

their official capacities (the “State and Municipal Defendants”) each have established

policies, practices, and/or customs of violating the constitutional rights of members of the

press and others, and of unlawful use of excessive force, or have been deliberately

indifferent to such constitutional violations by their officers, agents, and employees, as

discussed below.

              a.     Unconstitutional Treatment of Journalists

       138.   The State and Municipal Defendants each have a policy, practice, or custom

of deploying chemical agents and injurious, less-lethal ballistics against members of the

news media. In addition, the State and Municipal Defendants have each been deliberately

indifferent to unconstitutional uses of chemical agents and less-lethal ballistics by their

officers against members of the news media.

       139.   The State and Municipal Defendants each have a policy, practice, or custom

of failing to provide warnings and/or dispersal orders before using chemical agents and

injurious, less-lethal ballistics against protesters and members of the news media. In

addition, the State and Municipal Defendants have each been deliberately indifferent to


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risks that their officers, agents, or employees would fail to provide warning or dispersal

orders before using chemical agents and injurious, less lethal ballistics.

       140.   The State and Municipal Defendants each have a policy, practice, or custom

of intimidating, threatening, arresting, and detaining news media lawfully reporting on

protests and other First Amendment expressive activity, or have been deliberately

indifferent to the risks that their officers, agents, or employees would behave in such a

manner.

       141.   The State and Municipal Defendants’ failure to supervise and train their

employees and agents with respect to First Amendment protected activity amounts to a

reckless and deliberate indifference to the rights of Plaintiffs and the Plaintiff Class

Members.

       142.   In a June 10, 2020 news conference, Chief Arradondo stated: “Our media

must be protected,” stated that he will be looking at “why journalists were fired upon,” and

apologized for the police abuses of journalists that occurred during the George Floyd

protests. 65 In a June 5, 2020 statement, the State Patrol stated: “When conducting law

enforcement operations to restore order and keep people safe, it can be difficult for officers

to distinguish journalists from those who are violating a curfew order or not complying

with commands to leave an area. . . . we are reviewing the incidents involving our troopers




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  https://kstp.com/news/-minneapolis-police-department-spokesman-john-elder-and-
police-chief-medaria-arradondo-address-the-media/5755828/

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in an effort to prevent similar incidents in the future.” 66 On information and belief,

however, neither the State Patrol nor the MPD have reprimanded, disciplined or suspended

any officer involved in any of the unlawful conduct described in this Complaint, nor has

any additional training been implemented to “prevent similar incidents in the future.”

       143.   The State and Municipal Defendants were on notice of their policies,

practices, and/or customs of unconstitutional conduct against journalists covering protests,

and they had ample reason to believe that their training and supervision regarding these

issues was inadequate.

       144.   For example, in 2002, the Minnesota Daily (the University of Minnesota

student newspaper) filed a complaint with the MPD’s Internal Affairs Division related to

officer actions against student journalists during a riot following a University of Minnesota

Hockey championship victory. According to written statements in the complaint, a

photographer was pushed to the ground from behind and kicked in the back. When a

reporter went to help the photographer, she was sprayed directly in the face with a chemical

irritant. Two other photographers were sprayed in the face with a chemical irritant and hit

repeatedly with riot sticks. Two photographers had press passes displayed in the middle of

their chests, and the others told police officers they were members of the press, according

to the complaint. 67 On information and belief, none of the officers involved in this



66
  https://www.startribune.com/minnesota-aclu-sues-to-halt-alleged-misconduct-by-
enforcement-agencies-against-media/570991902/
67
 https://archive.nytimes.com/www.nytimes.com/uwire/uwire_JOIN042420022302015.ht
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misconduct were disciplined pursuant to this investigation, and no new or additional

training regarding journalists’ First Amendment rights or the use of force was provided in

the wake of this incident. 68 Defendant Kroll was in command during this riot. 69

       145.   In 2008, Amy Goodman, host of “Democracy Now!”, and her crew were

arrested during the Republican National Convention in St. Paul, despite posing no threat

and complying with police orders. 70 Defendant John Harrington, then Saint Paul Police

Chief, brushed off the First Amendment concerns. Dozens of other journalists were

arrested and/or assaulted by police during these protests, including an AP photographer

and a journalist from the New York Post, in incidents strikingly similar to those that

occurred during the George Floyd protests. Goodman and her crew filed a federal civil

rights lawsuit against various law enforcement agencies, including the Saint Paul Police

Department and the MPD based on these unconstitutional actions. The lawsuit settled in

2011, with the payment of $100,000 in compensation to the affected journalists, as well as

an agreement by the Saint Paul Police Department to implement new training aimed at

educating officers regarding the First Amendment and the rights of the press covering

demonstrations. 71 The Saint Paul Police Department also agreed to work to get the MPD

to implement similar training and to make its own training available to law enforcement

state-wide.   On information and belief, the MPD never implemented such training,



68
    https://splc.org/2002/08/students-await-word-on-probe-into-police/
69
    https://www.youtube.com/watch?v=fLbePial8xI
70
   https://www.minnpost.com/politics-policy/2008/09/amy-goodmans-arrest-when-
journalists-are-story/
71
    https://www.youtube.com/watch?v=1VtmmFFhTxk

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however, nor did the Minnesota State Patrol avail itself of the training offered by the Saint

Paul Police Department pursuant to this settlement.

       146.   Another journalist, Kelly Benjamin, was also assaulted by Minneapolis

Police and unlawfully arrested during the RNC protests after identifying himself as a

member of the media and displaying his credentials. Benjamin was injured and his video

camera destroyed as a result of this assault by the MPD. In 2012, Benjamin filed a federal

civil rights lawsuit against the City of Minneapolis and the officers who injured him. The

case settled in October 2013 for an unknown amount. On information and belief, the MPD

officers involved in this unlawful arrest and assault were not disciplined, and the MPD did

not implement any additional training as a result of this incident or the lawsuit.

       147.   In 2012, MPD’s Internal Affairs Unit initiated an investigation after Officer

Blayne Lehner shoved KSTP photographer Chad Nelson to the ground, damaging Nelson’s

news camera and injuring Nelson’s neck and shoulder. 72 Nelson filed a criminal complaint

against Lehner based on this assault. Earlier that same year, Lehner had been videotaped

choking a peaceful female protester, pepper-spraying other peaceful protesters, and

arresting a journalist for no reason with the help of other officers. 73 Chief Tim Dolan

apologized to Nelson for Lehner’s assault, but Lehner received no disciplinary

consequences for these constitutional violations, and the MPD did not implement any

additional training in the wake of these incidents.


72
   https://kstp.com/news/mpd-officer-who-has-been-fired-twice-for-excessive-force-will-
remain-fired-following-arbitration-ruling/5772259/
73
   http://www.citypages.com/news/mpd-officer-blayne-lehner-shown-choking-and-
pepper-spraying-protesters-in-new-footage-video-6549465

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       148.   In 2015, the Minnesota State Patrol arrested KMSP-TV reporter Jack

Highberger while he reported on protests regarding the MPD’s killing of Jamar Clark. 74

Video shows Highberger in the middle of a live shot, speaking into his microphone,

reporting on the State Patrol beginning to arrest protesters. 75 A State Patrol officer walked

up to Highberger, said, “You wanna be next?” and cuffed him seconds later. The State

Patrol incident report from Highberger’s arrest states that State Patrol Lt. Stricker

instructed the arresting trooper Bowman to “first arrest [the] male with a video camera” –

Highberger – before arresting anyone else. 76 Hundreds of protesters and other media were

peacefully milling about when Highberger was arrested. Highberger was clearly targeted

for arrest because he was in the act of reporting. Highberger was booked, charged, and

jailed, despite his obvious status as a journalist. 77 Highberger’s arrest received national

media attention and was widely reported locally. 78 On information and belief, the State

Patrol did not discipline any troopers as a result of Highberger’s arrest, nor was any

additional training implemented.

       149.   Other credentialed journalists covering the Jamar Clark protests were

arrested, and WCCO-TV reporter Reg Chapman was pepper sprayed by MPD during the



74
   https://www.usnews.com/news/articles/2015/11/17/reporter-arrested-covering-
minnesota-highway-protest-over-jamar-clark-shooting
75
   https://www.facebook.com/JackHighbergerJournalist/videos/as-some-of-you-may-
know-i-was-arrested-this-evening-while-covering-a-protest-for/981050458623682/
76
   https://www.unicornriot.ninja/wp-content/uploads/2016/05/pdf20160111_11310735-
final.pdf
77
   https://twitter.com/JackHighberger/status/666643697581166593
78
   https://money.cnn.com/2015/11/17/media/tv-reporter-arrested-black-lives-matter-
minneapolis/index.html

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protests. The MPD response to the Jamar Clark protests was widely criticized, and the City

asked the Department of Justice to prepare an “after-action” report based on a

comprehensive review of the protests and the police response. The report, released in 2017,

was entitled “Maintaining First Amendment Rights and Public Safety in North

Minneapolis.” 79

       150.   The DOJ Report made many recommendations, including some regarding

crowd control and use-of-force that are discussed below. One of the recommendations was

that the MPD implement training on “First Amendment rights and protections, legitimacy,

and procedural justice” to avoid future unconstitutional actions by the MPD. On

information and belief, the MPD ignored this recommendation from the Department of

Justice despite being put on notice by the DOJ Report that its training was deficient with

respect to the First Amendment.

       151.   In 2017, the Minnesota State Patrol arrested City Pages journalist Susan Du

and Minneapolis Daily City Editor David Clarey during the protests following the Philando

Castile killing. Du’s phone, camera, keys, notes, and laptop were seized. The State Patrol

detained Du and Clarey for nine hours, even though they had attempted to comply with

officers’ directions to disperse. Du and Clarey had identified themselves as members of

the press but were detained nonetheless. On information and belief, no troopers were




79
 https://www.policefoundation.org/wp-content/uploads/2017/03/Maintaining-First-
Amendment-Rights-and-Public-Safety-in-North-Minneapolis.pdf


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investigated or disciplined for these unlawful arrests, nor did the Minnesota State Patrol

implement any new training in the wake of these arrests.

       152.   The State and Municipal Defendants are fully cognizant of the constitutional

rights they are failing to protect, and they had ample notice that officers and troopers were

violating journalists’ constitutional rights during the George Floyd protests, yet they utterly

failed to exercise any supervision or discipline to curb the lawless and unconstitutional acts

of officers and troopers.

       153.   Officers and troopers were either explicitly told to disregard journalists’

rights, or there has been a failure of command to supervise and discipline officers and

troopers regarding violations of those rights.

       154.   There is a culture of hostility to the media among officers and troopers that

the State and Municipal Defendants have taken no steps to curb and have in some instances

encouraged. For example, MPD officers routinely parrot President Trump’s demonization

of journalists as the enemy of the people, railing about the “lamestream media” and “fake

news,” comments that echo the disparaging remarks about the media made in Defendant

Kroll’s statement to Federation Members in the wake of the protests. 80

       155.   Minneapolis Police officer David Pena displayed the rank-and-file’s attitude

towards the media in Facebook posts 81 commenting on the First Amendment violations

that occurred during the protests: 82


80
   https://www.gq.com/story/minneapolis-police-officer-interview
81
   Pena posts under the pseudonym Dave Rock.
82
   http://citypages.com/news/minneapolis-police-officer-urges-looting-of-cedar-riverside-
arresting-press/571046391

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       156.   Consistent with Officer Pena’s flippant attitude toward the unlawful arrest of

Omar Jimenez and his crew, and Defendant Kroll’s disparaging statements about the news

media, police officers and state troopers responded with profanity and verbal abuse when

members of the press identified themselves in the midst of the unconstitutional acts

described above, stating, among other things: “I don’t care;” “we don’t fucking care;”

“shut up;” “if you move an inch you’ll be shot;” “Roll on your side, Mr. Journalist. You’re

going to be charged;” “we don’t care, we’ll arrest you;” “Your [press badges] are bullshit;”

“I’m going to get her;” “Do you know what curfew is?” and “I want to fucking peg you.”

       157.   The Minneapolis Police Policy and Procedure Manual Section 6-200

provides:

              MPD employees shall not unnecessarily obstruct news media
              personnel from performing their duties at emergency scenes.
              However, news media will not be allowed to cross police lines,
              which are set up to protect a crime scene. Members of the
              media must follow all municipal, state, and federal statutes.
              Media can be restricted from an area where their presence can
              jeopardize police operations. Only the ranking on-scene officer
              may grant news media representatives access to any area
              closed because of investigation or health and safety hazards.

The manual provides no other instruction or guidance on how to identify the media or

ensure their First Amendment rights are respected. It does not discuss how to safeguard

press freedoms at protests, Section 6-200 does not appear to have been updated since 2008,

and the MPD’s conduct throughout the Floyd protests showed a widespread disregard and

contempt for this policy. Notably, the words “First Amendment” appear nowhere in the

entire MPD Policy and Procedure Manual.


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       158.   MPD officers either do not know, or do not care, about the press’s First

Amendment rights. Or, as is apparently the case with Officer Pena and Defendant Kroll,

they are actively hostile toward those rights. Regardless, this state of affairs reflects an

unconstitutional MPD policy, practice or custom regarding the rights of the press, and a

failure by Chief Arradondo and his command structure to train and supervise regarding the

rights of the press and the First Amendment generally.

       159.   The Minnesota State Patrol is similarly dismissive of the rights of journalists.

After the barrage of international criticism arising out of its illegal detention of Jimenez

and his crew, the State Patrol issued the following statement: “In the course of clearing the

streets and restoring order at Lake Street and Snelling Avenue, four people were arrested

by State Patrol troopers, including three members of a CNN crew. The three were released

once they were confirmed to be members of the media.” Of course, it was obvious from

the outset that these individuals were members of the media, posed no threat, and sought

to accommodate the State Patrol in its mission. Arresting them had nothing to do with

“restoring order” and everything to do with retaliating against and intimidating the press.

This clearly false statement demonstrates the State Patrol’s and Defendant Langer’s

reckless and deliberate indifference to the constitutional rights of the press and the violation

of those rights by the State Patrol.

       160.   During the Floyd protests, from May 27 to June 2 and beyond, dozens if not

hundreds of news articles in the local, national, and international press ran every day

regarding abuse and arrest of journalists by the State and Municipal Defendants, yet




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nothing was done to curb the rampant unconstitutional conduct or discipline those

involved.

       161.   The State and Municipal Defendants’ failure to properly supervise and train

their officers, agents, and employees in the wake of past incidents of unconstitutional

conduct and hostility to the press, their unlawful use of force against the press and others,

and their inaction despite ample notice during the Floyd protests that journalists’

constitutional rights were being violated, demonstrates a reckless and deliberate

indifference to and/or a tacit authorization of violations of the constitutional rights of

Plaintiffs and the Plaintiff Class.

              b.      Unconstitutional Use of Force

       162.   The State and Municipal Defendants each have a policy, practice, or custom

of unconstitutional use of excessive force in violation of their own written policies.

       163.   The MPD has a custom or practice of ignoring its own written use of force

policies, and has failed to adequately train on those policies, failed to supervise its officers

with respect to those policies, and failed to discipline officers who violated those policies

in the past, all of which contributed to the unlawful acts of violence against journalists

described above.

       164.   A study in 2013 determined that the Office of Police Conduct Review,

created in 2012 to replace the Civilian Review Authority as an oversight body for the




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internal MPD disciplinary process, had received 439 complaints about officer misconduct.

Not a single complaint resulted in discipline for an accused officer. 83

       165.    In 2015, local nonprofit Communities United Against Police Brutality filed

a Data Practices Act request with the MPD. They learned that only two cases had been

closed with discipline between October 2012 and March 2015. 84

       166.    A Reuters investigation determined that between 2012 and 2020, the MPD

received roughly 3,000 complaints about officer misconduct, including unlawful use of

force. Ninety-percent of those complaints were resolved without discipline or other

intervention. 85

       167.    Ultimately, only 1.5% of complaints filed against MPD officers between

2013-2019 resulted in suspensions, terminations, or demotions. 86 Letters of Reprimand

were issued in just 1.1% of cases. In other words, 97.4% of the complaints filed during

that seven-year period resulted in no discipline.

       168.    These statistics are consistent with MPD’s message to officers that they need

not fear discipline for violating the MPD’s use-of-force policies or individuals’

constitutional rights, as MPD’s policy, practice and custom has been to excuse and ignore

patterns of unconstitutional excessive force by its officers.




83
   https://www.usccr.gov/pubs/2018/03-22-MN-Civil-Rights.pdf
84
   https://www.southwestjournal.com/news/2015/12/a-look-inside-the-office-of-police-
conduct-review/
85
   https://www.reuters.com/article/us-minneapolis-police-culture-specialrep/special-
report-how-union-supreme-court-shield-minneapolis-cops-idUSKBN23B2LL
86
   https://www.cnn.com/2020/06/11/us/minneapolis-police-discipline-invs/index.html

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      169.   For example, in 2015, the City settled a federal lawsuit filed after Officer

Tyrone Barze, Jr., after he confiscated the cellphone of a woman who was filming him and

punched her in the face. The suit settled for $82,000. The City had previously settled a

lawsuit filed after Barze put a high school student in a chokehold. That suit settled for

$140,000. The City had also settled a lawsuit for $34,000 that was filed after Barze

“unreasonably” pepper sprayed the manager of an Uptown bar. 87 Barze was sued again for

unnecessary force later that year. 88 The lawsuit noted that Barze had been the subject of

five previous unnecessary force lawsuits. The suit settled for $62,500. As of April 2016,

the City had paid $318,000 to settle excessive force lawsuits against Barze. 89 A number

of these lawsuits involved Barze’s unlawful seizure and destruction of the victims’

cellphones or deletion of footage of Barze’s misconduct. 90 Nonetheless, Kroll lauded

Barze as “excellent” and a “hardworking cop” and complained that the City Attorney’s

office was “too quick to settle” excessive force cases. 91 Kroll had trained and supervised

Barze when he first joined the MPD. On information and belief, Barze had been the subject

of 12 different complaints at MPD but had only been disciplined once despite the multiple




87
   http://www.citypages.com/news/minneapolis-officer-tyrone-barze-investigated-again-
for-police-brutality-6544768
88
   https://www.startribune.com/man-sues-city-cop-for-excessive-force-during-2014-
arrest/361637401/
89
   https://www.startribune.com/settlement-in-suit-against-mpd-cop-who-s-cost-the-city-
320-000/377502941/
90
   https://m.facebook.com/cuapb.org/posts/10156444445252221
91
   https://www.startribune.com/minneapolis-pays-82-000-in-case-of-maple-grove-
woman-allegedly-punched-by-officer/328687241/

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excessive force settlements. Instead of disciplining Barze, the MPD chose him to train

officers on appropriate use-of-force. 92

       170.   As another example, despite multiple excessive force complaints, Officer Ty

Jindra was not disciplined or removed from patrol duty with the MPD until he came under

federal investigation for criminal allegations involving his excessive use of force. 93 On

information and belief, at least 12 separate complaints have been filed against Jindra in his

5 years at the MPD. Among the incidents involving Jindra was one in which he pointed

his service weapon at two handcuffed individuals and asked them if they wanted “to get

fucking shot.” 94 Jindra was not disciplined for this incident. Jindra’s father, Jeff Jindra,

was also an MPD officer with a history of uses of excessive force, including one incident

in which he kicked a handcuffed suspect so hard in the face that he broke the individual’s

jaw. The City settled this lawsuit for $110,000. 95 The elder Jindra was not disciplined for

this unlawful use of force.

       171.   In 2013, Officer Lucas Peterson shot and killed Terrence Franklin during a

confrontation in Uptown. At the time, Peterson had been sued at least 13 times for use of

excessive force, claims which settled for more than $700,000 total. 96 Notably, one of these


92
   https://www.startribune.com/settlement-in-suit-against-mpd-cop-who-s-cost-the-city-
320-000/377502941/
93
   https://www.startribune.com/sources-minneapolis-cop-under-federal-investigation-for-
alleged-excessive-force-theft/568245842/
94
   http://www.citypages.com/news/charges-dropped-after-scene-of-chaotic-minneapolis-
arrest-released-video/566842611
95
   https://www.minnpost.com/politics-policy/2015/10/disorderly-conduct-its-zeal-bust-
drug-dealers-and-prostitutes-minneapolis-po/
96
   https://www.startribune.com/13-excessive-force-complaints-against-minneapolis-cop-
involved-in-shooting/213718651/

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settled claims involved Peterson firing a 40mm “marking round” at close range at an RNC

protester in 2008. 97 Peterson was not disciplined for this incident. In fact, despite

Peterson’s lengthy excessive force complaints, his only discipline has been a letter of

reprimand. Franklin’s estate sued Peterson for wrongful death, and the City settled that

case for $800,000 in February 2020. 98 Peterson was never disciplined for the killing of

Franklin, and he remains the training coordinator for the MPD Swat Team. 99

       172.   In 2013, MPD officer Blayne Lehner (whose assault of protesters and

unlawful arrest of a journalist are described above) kicked an 18-year old handcuffed in

the back of his squad car so hard that the man’s teeth were knocked out and his jawbone

exposed (Lehner’s assault and unlawful arrest of journalists in 2012 is described above). 100

Lehner was sued in 2015 for this misconduct. The City paid $360,000 to settle the lawsuit.

Lehner had been the subject of at least 30 internal affairs investigations, received two letters

of reprimand, and been suspended twice for misconduct.              He had been previously

disciplined five times for excessive force. Yet on information and belief, he was not

disciplined for this incident. It was not his first federal lawsuit for kicking an individual in

the face. In 2012, Lehner was sued for a 2011 incident in which he kicked a prone, non-

resisting individual in the face during an unlawful warrantless search of a duplex



97
   https://d3n8a8pro7vhmx.cloudfront.net/cuapb/pages/270/attachments/original/1509687
595/Lucas_Peterson_13_excessive_force_lawsuits.pdf?1509687595
98
    https://www.startribune.com/council-approves-795-000-payment-to-family-of-
terrance-franklin-in-2013-police-shooting/567878132/
99
    https://www.linkedin.com/in/lucas-peterson-56237b80
100
     https://minnesota.cbslocal.com/2016/01/28/mpls-police-union-files-grievances-over-2-
officer-firings/

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apartment. 101 That lawsuit settled for $85,000. On information and belief, Lehner was not

disciplined for either the 2011 or 2012 incident.

       173.   A 2015 Department of Justice analysis of the MPD disciplinary system found

that “serious disciplinary actions against officers occur infrequently.”     The review

recommended that the disciplinary system be re-vamped to better ensure compliance with

MPD’s use of force and other policies. 102 On information and belief, the MPD has not

implemented the DOJ’s recommendations on how to improve its systems for preventing,

investigating, and sanctioning police misconduct. 103

       174.   In 2015, protests erupted in North Minneapolis after the MPD killing of

Jamar Clark. The MPD’s violent response to the protests was widely criticized. As noted

above, in 2017 the Department of Justice released an after-action report regarding the

MPD’s response to the Jamar Clark protests. It found that the MPD “did not have adequate

department-wide training on crowd management, negotiated resolution, de-escalation, the

use of personal protective equipment or the use of less-lethal instruments . . .” 104 On

information and belief, few if any of these DOJ recommendations were adopted by the

MPD.

       175.   Among other things, the DOJ Report found:


101
    http://www.citypages.com/news/mpd-officer-blayne-lehner-named-in-misconduct-
lawsuit-mpls-settles-for-85k-6547490
102
    https://docplayer.net/2826886-Diagnostic-analysis-of-minneapolis-police-department-
mn.html
103
    https://www.startribune.com/minneapolis-police-behind-the-ball-on-years-old-
department-of-justice-report/510595072/
104
    https://www.policefoundation.org/wp-content/uploads/2017/03/Maintaining-First-
Amendment-Rights-and-Public-Safety-in-North-Minneapolis.pdf

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             “The Minneapolis Police Department did not have adequate
             department-wide training on crowd management, negotiated
             resolution, de-escalation, the use of personal protective
             equipment, or the use of less-lethal instruments prior to the
             [Jamar Clark protests];”

             “The Minneapolis Police Department had inadequate policy,
             guidelines, training, and equipment for crowd management;”

             “No departmental policy currently exists on [crowd-control]
             equipment type, use, or training. Also, no policy exists to
             define who receives equipment, training on equipment, or the
             inspection and deployment of equipment;”

             “Marking rounds were deployed without plans for the
             subsequent extraction and arrest of the individuals who were
             marked . . . [and] The MPD does not have policy, procedures,
             or training regarding the deployment of marking rounds.”

      176.   In response to these deficiencies, the DOJ Report recommended that:

             At a minimum, future department-wide training should include
             the following:

             ■ First Amendment rights and protections, legitimacy, and
             procedural justice;

             ■ Crowd management, MFF operations, de-escalation,
             negotiated management, and problem solving;

             ■ ICS training that builds on the FEMA curricula as a
             foundation for the MPD, its regional public safety partners, and
             elected officials;

             ■ Use of force and less-lethal instrument deployment in
             accordance with MPD’s recently released use of force policy
             and best practices;

             ■ Hands-on personal protective equipment training.

      177.   The DOJ Report also found that “During the occupation at the Fourth

Precinct, MPD employees deployed less-lethal and non-lethal weapons without clear


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authorization from the incident commander, in violation of policy 5-312.” On information

and belief, no officers were disciplined for these violations and no additional training was

implemented to prevent similar violations in the future.

         178.    The DOJ Report also found that: “MPD deployed chemical agents without

prior authorization, in violation of policy 5-313.” On information and belief, no officers

were disciplined for these violations, and no additional training was implemented to

prevent similar violations in the future.

         179.    The MPD did not implement additional policies, controls, or training after

the issuance of the DOJ Report to address the negative findings in the report or the

recommendations it made.

         180.    In 2016, the Minneapolis Police Conduct Oversight Commission issued a

report regarding the MPD citizen complaint filing procedure. 105 It concluded that some

civilian complaints were not even reaching the OPCR. The report flagged the following

issues, among others:

             •   Top search results for the five most commonly used search
                 engines (i.e. “File complaint against Minneapolis police
                 officer) leads to a police department page on the city website
                 that has no mention of OPCR and instructs complainants who
                 want to file in person to go to a precinct;

         •       MPD website directs complainants to file complaints at any of
                 the five precincts. Testers were sent to each precinct and asked
                 to file complaints. In 13 of the 15 attempts, complainants were
                 not offered the opportunity to file a complaint at the precinct;




105
      https://www.aclu-mn.org/sites/default/files/field_documents/wcmsp-184609.pdf

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       •       Testers were often told that no paper forms were available.
               Forms were provided to precincts and can be printed from the
               MPD website;

       •       Testers were told they had to go to another precinct to file a
               complaint. Complaints should be accepted at any precinct
               regardless of where the incident occurred.

The report made 11 recommendations regarding how to handle the complaint intake process

to ensure all complaints were heard.         On information and belief, none of these

recommendations have been implemented.

       181.    A current MPD officer told one reporter recently: “We’ve had a number of

cases that led to internal investigations, and the worst punishment any officer has received

was a 48-hour suspension. In a department with the track record of Minneapolis, that shows

everything.” 106 The MPD called this reporter and pushed her to disclose the identity of this

anonymous MPD officer, claiming it had launched an “internal investigation” into the

“leak.” 107

       182.    Former Chief Harteau has called MPD’s disciplinary system “ineffective.”

Chief Arradondo has complained that the system is “debilitating” because it prevents him

from terminating officers whose misconduct warrants termination. Former Mayor R.T.

Rybak has complained about “wanting to take harder discipline and running into all sorts

of contract issues.” 108




106
    https://www.gq.com/story/minneapolis-police-officer-interview
107
    https://twitter.com/LEBassett/status/1280966908527984645
108
    https://www.cnn.com/2020/06/11/us/minneapolis-police-discipline-invs/index.html

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       183.    A culture of impunity, tolerance for constitutional violations, and open

hostility to the press, all of which constitute the custom, practice, and policy of the MPD,

culminated in the police abuses of the press described above. The constitutional violations

alleged above were a direct result of MPD policy, practice, and custom, as well as the

failure of the MPD to supervise and discipline officers to ensure they adhered to MPD’s

written policies on use of force and the media and demonstrated respect for the Constitution

and the law.

       J.      THE POLICYMAKING ROLE OF DEFENDANT KROLL.

       184.    Defendant Kroll is both a Lieutenant in the Minneapolis Police Department

and the president of the Police Officers Federation of Minneapolis. Kroll’s supervisory

role in the MPD is significantly amplified by his position as Federation President. Kroll

occupies a unique position among the State and Municipal Defendants, as he acts under

color of state law with respect to both his supervisory duties as a lieutenant but also in his

role as Federation President.

       185.    Under the contract between the City and the Federation, Kroll has full time

release from his policing duties while being paid by the city and has an office in the MPD’s

Human Resources Unit which gives him access to more personnel data and on a quicker

basis than he would otherwise have in his role as union president.

       186.    Kroll acts as an unofficial policymaker and state actor within the MPD far

beyond his command and supervisory duties as a lieutenant. The Federation’s contract

with the City of Minneapolis establishes that while certain inherent managerial policy

matters fall within the authority of the City (and the MPD command structure), the


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Federation has a role in setting those policies, a provision under which Kroll operates in

his capacity as Federation President. 109 Kroll also influences MPD custom and practice

through his public and private statements and instructions to officers.

       187.   Thus, the MPD’s policies, customs and practices derive not just from the

command structure within the department, but also from Kroll in his role as Federation

President. Kroll actively sows discord between rank-and-file officers and the command

structure as a means of further amplifying his policy role and outsize influence over police

culture. What Kroll casts as his “opinions” as Federation President have the practical effect

of serving as policy guidance for officers, which aggravates the State and Municipal

Defendant’s training and supervision failures described above.

       188.   For example, during the George Floyd protests, even after some of the

egregious abuses of journalists described above, Kroll implored MPD commanders to

further loosen the existing, ineffective restrictions on use of less-lethal projectiles and

chemical agents. In so doing, Kroll inserted himself into the command structure in a

policymaking and advisory role inconsistent with his rank.

       189.   Kroll wrote in an email to command staff on May 29, 2020: “The officers

have lost faith in leadership that appears handcuffed by political power that despises us.

That was very evident with numerous examples by several at today's press conference.

Examples include no arrests, no mobile booking stations, restrictions on use of gas and less



109
  http://www2.minneapolismn.gov/www/groups/public/@hr/documents/webcontent/wc
msp-200131.pdf


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lethal. At some point community engagement needs to end and law enforcement needs to

take place.” 110 Unsurprisingly, given Kroll’s insistence on “unhandcuffing” the MPD’s

protest response, many of the most egregious attacks on journalists occurred on May 30

and 31.

      190.   On June 2, 2020, Kroll released a statement to Federation members that

underscores his role as de facto policymaker and Kroll’s failure to supervise with respect

to the particular First and Fourth Amendment issues described in this Complaint. 111

      191.   Kroll’s June 2 statement seeks to drive a wedge between rank-and-file

officers and MPD leadership:

             “No one with the exception of [Kroll and the Federation board]
             is willing to recognize and acknowledge the extreme bravery
             you have displayed throughout this riot.”

             “What has been very evident throughout this process is you
             have lacked support from the top.”

             “I’ve noted in press conferences from our mayor, our governor,
             and beyond, how they refuse to acknowledge the work of MPD
             and continually shift blame to it. It is despicable behavior.
             How our command staff can tolerate it and live with
             themselves I do not know.”

             “Your federation board will not remain silent. It’s important
             for us to get order restored and safety resumed. We do have a
             lot to say about failed leadership when the time is right. We’ve
             been formulating plans for that.”




110
    https://kstp.com/news/minneapolis-police-union-blames-failed-leadership-for-riots-
violence-june-23-2020/5769384/
111
    https://twitter.com/ChiefHarteau/status/1267460683408564225/photo/1

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         192.   Kroll’s statement flags both his outsized supervisory role and his failure to

supervise. In it, he speaks of himself as though he, and not Chief Arradondo, leads the

department, and he ratifies the rampant unconstitutional conduct detailed below:

                “Although I have not been visibly present, I am closely
                monitoring what is occurring. I commend you for the excellent
                police work you are doing . . .”

                “I’ve had numerous conversations with politicians at the state
                level. I gave a detailed plan of action including a range of 2000
                to 3000 National Guard, their deployment allocations
                throughout our city and St. Paul, in a phone meeting with
                Senate majority leader Paul Gazelka.”

                “I’ve worked with other police leaders from New York to Las
                Vegas to push our messaging on a national level.”

         193.   Kroll’s statement scapegoats the “liberal media,” accusing the press of

somehow preventing him from being more vocal, and explicitly ties media coverage to

danger to the rank-and-file police officers and to Kroll himself, statements which constitute

incitement against the press given the current climate of unrest:

                “I’ve been a visible target from the groups conducting this riot,
                politicians on the left allowing it and encouraging it, and liberal
                media. My visibility during this time would only increase your
                danger. I’ve received countless death threats throughout this.”

         194.   Former Minneapolis Police Chief Janee Harteau responded to the Kroll

statement by stating: “A disgrace to the badge! This is the battle that myself and others

have been fighting against. Bob Kroll turn in your badge!” 112




112
      https://twitter.com/ChiefHarteau/status/1267460683408564225

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       195.    Kroll had engaged in public criticism of the department during prior protest

situations. During the protests that erupted in the wake of the Jamar Clark killing, Kroll

routinely gave radio interviews in which he criticized the Mayor and the Chief, lambasted

the MPD command structure for what he viewed as a weak response to the protests,

undercutting the Mayor’s order that the MPD act with restraint in response to the protests,

and the public statements from Chief Harteau that protesters First Amendment rights would

be respected. 113

       196.    Kroll’s outsize influence in setting police policy, custom, and practice, is

widely known. During her tenure, Chief Harteau sought to reform policy and practice

within the MPD but was consistently resisted and subverted by Kroll. She explained

recently: “The police federation has historically had more influence over police culture

than any police chief ever could. I was fought at every turn from bringing body cameras

to the police department to having implicit bias training to professional development

processes and having some more consistency in promotions.” 114 She stated that when she

sought to implement a body camera program for the department, the Federation opposed

the policy change and resisted it “at every turn.” 115

       197.    Former Assistant Minneapolis Police Chief Kris Arneson, who served during

Chief Harteau’s tenure, has stated: “Kroll instigates behind the scenes all the time, and if


113
    https://www.policefoundation.org/wp-content/uploads/2017/03/Maintaining-First-
Amendment-Rights-and-Public-Safety-in-North-Minneapolis.pdf
114
    https://www.theguardian.com/us-news/2020/jun/05/minneapolis-police-union-bob-
kroll-us
115
    https://www.reuters.com/article/us-minneapolis-police-culture-specialrep/special-
report-how-union-supreme-court-shield-minneapolis-cops-idUSKBN23B2LL

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anybody thinks he doesn’t, they don’t know what they’re talking about. I’ve seen him

agree to reform efforts and then hack away at them behind the scenes.” 116

       198.   In 2017, the MPD rolled out changes to its “deadly force” policy that the

Federation opposed. Kroll attacked the policy in private conversations with officers and

in public appearances, complaining it was too vague, hamstrung officers, and visited unfair

penalties on those who violated the policy. 117 Kroll’s opposition to the policy change

ultimately killed the policy, and the Federation’s preferred “deadly force” policy remained

in place.

       199.   Also, in 2017, in the wake of the Justine Damond shooting, the MPD

instituted a new policy requiring police body cameras be activated when officers were

dispatched. Kroll attacked the new policy in public, calling it “a knee-jerk reaction and

politically motivated,” and stating that any such policy change should be “carefully

examined” before going into effect.

       200.   Former Mayor R.T. Rybak has stated Kroll has an outsize (and highly

negative) influence on MPD custom and practice. 118 Rybak recently stated: “We’ve never

had a person leading the Federation who is as bombastic, who is as overtly racist, who is

as likely to provide comfort to someone when they do something wrong, who is as central




116
    https://www.startribune.com/after-decades-of-union-clout-entire-police-dept-now-at-
risk/571242042/
117
    https://m.startribune.com/minneapolis-cops-retreat-from-stricter-deadly-force-
policy/429986473/
118
    https://www.theguardian.com/us-news/2020/jun/05/minneapolis-police-union-bob-
kroll-us

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to that toxic culture as Bob Kroll. And it is time to name names. Bob Kroll is a cancer on

this police department; on this city.” 119

       201.   Current Mayor Jacob Frey has also struggled to combat Kroll’s influence on

MPD policy, practice, and custom, stating that the Federation has resisted all the reforms

he has worked to institute, and that he is “hamstrung by the architecture of the system” of

the Federation’s contract with the City of Minneapolis.

       202.   Frey has stated that the main obstacle to changing MPD policy and practice

is the Federation, explaining: “what I’m talking about is pushing back hard on the union

contract, it’s about going after the police union,” and suggesting in order to implement the

command structure’s stated policy, practice and custom at the MPD, it may be necessary

to abolish the Federation. 120

       203.   For example, in 2019, Frey banned MPD’s use of so-called “warrior-style

training” for its officers. Frey explained: “We have adopted this new policy because proper

training on use of force and de-escalation is of paramount importance,” cautioning that

“[o]fficers found to pursue any training that conflicts with MPD’s training and has not been

preapproved will be subject to discipline.” MPD spokesman John Elder clarified the

importance of officers being trained only through processes sanctioned by the MPD

command staff: “The policy just requires preapproval for external trainings on these topics

to make sure there is not a conflict. The MPD encourages and supports training for its staff


119
    https://deadspin.com/all-the-reasons-bob-kroll-can-go-to-hell-including-his-
1843905449
120
    https://minnesota.cbslocal.com/2020/06/08/mayor-frey-supports-massive-structural-
transformational-reform-of-police-department-not-abolishing-it/

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that encompasses officer and community safety based on procedurally just methodology.”

Undaunted, Kroll announced that the Federation would pay for and offer the warrior-style

training to MPD officers, essentially usurping the official training function of the MPD and

the training determinations of its command structure. 121 While it is not clear whether any

officers took the Kroll up on the offer, warrior-style training videos were ultimately

circulated among the MPD rank-and-file to blunt the command structure’s attempts at

reform. 122

       204.    Frey recently stated: “For years in Minneapolis, police chiefs and elected

officials committed to change have been thwarted by police union protections and laws

that severely limit accountability among police departments,” and Frey identified the

Federation as a “persistent barrier” to reforms of the MPD’s policies, practices, and

customs. 123

       205.    Similarly, Defendant Arradondo has complained that he is stymied in

carrying out his duties of supervision and discipline because the Federation’s contract




121
    https://www.startribune.com/minneapolis-police-union-offers-free-warrior-training-in-
defiance-of-mayor-s-ban/509025622/?refresh=true
122
    https://www.washingtonpost.com/national/police-chiefs-and-mayors-push-for-reform-
then-they-run-into-veteran-officers-unions-and-how-culture-is-
created/2020/06/28/7d2ff812-b2ef-11ea-8f56-63f38c990077_story.html
123
    https://www.startribune.com/minn-officials-push-for-systems-change-at-minneapolis-
police-dept/570958652/

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“diminishes [his] authority as chief . . .” 124 Per Arradondo, Kroll’s attitudes and outlook

“absolutely” has an influence on the police force. 125

       206.   Indeed, Arradondo recently announced publicly that the MPD was

withdrawing from its contract negotiations from the Federation in an attempt to curb the

Federation’s influence over MPD policy, practice, and custom.             Arradondo’s stated

rationale for this move confirms that the Federation’s role has devolved from negotiating

for its members to influencing and developing MPD policy: “This is not about officers’

wages, bonuses or salaries . . . [t]his is about examining those significant matters that touch

on things such as critical incident protocol, use of force . . . and also the discipline process

to include both grievances and arbitration.” 126      Frey supported withdrawal from the

negotiations, explaining that changing the MPD’s relationship to the Federation was not

just about a new contract but about a “new compact between the people of Minneapolis”

and the MPD.

       207.   As discussed above, in response to a request from Minnesota Senate Majority

Leader Paul Gazelka, Kroll developed a “detailed plan” for deployment of National Guard

troops to be effectuated in coordination with the MPD’s response to the George Floyd

protests. That Gazelka thought it appropriate to reach out to Kroll to solicit policy

suggestions related to the protests, that Kroll thought it appropriate to respond and develop


124
    https://www.cbsnews.com/news/minneapolis-police-chief-medaria-arradondo-geroge-
floyd-killing-60-minutes-2020-06-21/
125
    https://www.cbsnews.com/news/minneapolis-police-chief-medaria-arradondo-geroge-
floyd-killing-60-minutes-2020-06-21/
126
    https://minnesota.cbslocal.com/2020/06/10/chief-arradondo-announces-immediate-
withdrawal-from-contract-with-police-union/

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a “detailed plan of action,” and that Gazelka then passed that information on to the

Governor’s office and discussed it at his own press conference demonstrates that legislative

leaders outside the City of Minneapolis view Kroll as an official policy maker separate and

distinct from the MPD command structure. 127

       208.    Consistent with this perception, the Minnesota Senate’s Judiciary and Public

Safety, and Transportation, Finance, and Policy Committees held a joint July 15, 2020

hearing on “Local Law Enforcement Response to Riots and Lawlessness.” It invited three

representatives from the Federation board to testify and answer questions, to explain the

official actions of the MPD during the George Floyd protests, and to make legislative and

policy recommendations. Neither Chief Arrandondo, Mayor Frey, nor anyone from the

Mayor’s staff or the MPD command structure were called to testify.             In contrast,

Commissioner Harrington and Colonel Langer – those with actual command responsibility

for the State response to the protests – were called to testify and answer questions about

the State’s response. 128

       209.    Kroll’s policymaking role was front-and-center at the Mohammad Noor trial,

during which both the victim’s family and the Hennepin County Attorneys’ Office accused

the Federation of instructing officers how and when to respond to official inquiries about

the killing. When the Hennepin County Attorney’s Office threatened to hold officers in



127
  See https://twitter.com/paulgazelka/status/1267939016940359687
128
  https://www.senate.mn/committees/2019-
2020/3102_Committee_on_Transportation_Finance_and_Policy/Agenda%20-
%20Joint%20Hearing%204.pdf


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contempt for refusing to testify before Noor’s grand jury, Kroll threatened that the move

could affect officers’ relationship with the county attorney, stating: “They need to figure

out whose side they’re on — law enforcement should work collectively with city and

county attorneys to prosecute criminals.” 129 After Noor’s conviction, Justine Damond’s

father stated: “We believe that this conviction was reached despite the active resistance of

a number of Minneapolis officers, including the head of the union.” 130

       210.   In 2019, Minneapolis Councilmember Steven Fletcher advanced an initiative

to divert money from hiring additional MPD officers and toward a newly created office of

violence prevention. Fletcher has stated that in response to this policy initiative, the police

stopped responding as quickly to 911 calls placed by his constituents: “Politicians who

cross the MPD find slowdowns in their wards. After the first time I cut money from the

proposed police budget, I had an uptick in calls taking forever to get a response, and MPD

officers telling business owners to call their councilman about why it took so long.”131

Fletcher further stated, “It makes it very hard to implement reforms if … the federation is

in the background saying, ‘Don’t worry about this, we’ll file a grievance. That sends a

strong signal that you can just ignore leadership. That has, over time, created a culture that

is very resistant to change.” 132 Councilmember Phillipe Cunningham echoed Fletcher’s

statement, indicating he too had suffered artificially slow MPD response times after


129
    https://www.startribune.com/tension-rises-between-county-attorney-police-union-in-
noor-grand-jury-investigation/475458363/
130
    https://kstp.com/news/mohamed-noor-trial-differences-police-prosecutors/5337364/
131
    https://twitter.com/MplsWard3/status/1267891878801915904
132
    https://minnesota.cbslocal.com/2020/06/22/in-minneapolis-talk-of-changing-police-
department-means-taking-on-police-union/

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proposing to cut the MPD budget. 133 Councilmember Jeremiah Ellison has stated, “Kroll

is now the leader of one of the most hostile PDs in the country. Officers treat their job less

like a job and more like an ideology because of Bob’s guidance.” 134

         211.   Federation board members also refer to Kroll as a “leader” of the MPD rank-

and-file, conflating his role as Federation President into a policymaking role at the MPD

far exceeding his rank of Lieutenant. In a June 24, 2020 interview with KARE 11 news,

Federation Vice President Sgt. Sherral Schmidt stated: “Right now our members want . . .

they want leadership from someone. And the Federation and Bob are the only ones that

are providing that right now.” 135

         212.   In the wake of the George Floyd killing, other Minnesota labor unions called

for Kroll’s resignation and flagged the Federation’s outsize role in establishing MPD’s

policy, practice, and custom and thwarting the implementation of official policy. The AFL-

CIO castigated Kroll and the Federation for “enabl[ing] violence and brutality to grow

within police ranks . . .” 136 The American Federation of Government Employees, which

represents federal law enforcement officers, stated: “as a union that represents law

enforcement officers, we also have a special responsibility to ensure that the labor

movement doesn’t serve as a shield for bad actors or a barrier to needed structural change


133
      https://twitter.com/CunninghamMPLS/status/1267920374207037448
134
    https://spokesman-recorder.com/2020/06/05/bob-kroll-reaffirms-suspicions-the-mpd-
is-beyond-reform/
135
    https://www.kare11.com/article/news/local/george-floyd/police-union-president-bob-
kroll-will-not-resign/89-2090d428-d5ab-423f-ac73-626ec6b0c969
136
    https://www.mnaflcio.org/updates/minnesota-afl-cio-calls-minneapolis-police-union-
president-bob-kroll%E2%80%99s-immediate-resignation

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. . .” 137 AFSCME wrote: “Unions exist to protect the rights of working people, not to

prevent the justice system from doing what is right.” 138 Education Minnesota President

Denise Specht stated: “We know the dangerous culture of the Minneapolis Police

Department will not be changed overnight by [Kroll’s removal], but it’s a start.” 139

       213.   Community leaders likewise perceive the outsize influence Kroll and the

Federation exercise over MPD policy, practice, and custom. For example, Jaylani Hussein,

head of the Minnesota chapter of the Council on American Islamic Relations recently stated

that while Arradondo is “the best person to oppose Kroll’s influence,” he is “fighting an

uphill battle.” 140 Former labor leader and local activist Javier Morillo has stated that the

Federation today is unlike any union in Minnesota and is far removed from the workers’

rights movements central to organized labor, resembling instead something more akin to a

union within the U.S. Army, which inevitably confuses the command structure. Morillo

stated: “So long as police departments operate in that same kind of structure, to me it begs

the question: Is this really a labor-management situation?” 141




137
    https://www.afge.org/publication/largest-union-representing-federal-employees-in-
minn.-calls-for-immediate-resignation-of-minneapolis-police-union-president-bob-kroll/
138
    https://www.afscmemn.org/council-5/news/afscme-council-5-executive-director-julie-
bleyhl-calls-bob-kroll-s-immediate
139
    https://educationminnesota.org/news/media-resources/news-releases/Education-
Minnesota-calls-for-resignation-of-Minne
140
    https://www.mprnews.org/story/2020/06/12/calls-for-mpd-union-leaders-resignation-
grow-louder
141
    https://www.startribune.com/after-decades-of-union-clout-entire-police-dept-now-at-
risk/571242042/

                                             83
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       214.       Kroll himself has trumpeted his and the Federation’s influence. In a 2015

interview with the City Pages, Kroll stated: “I think [protesters] see the police federation

as a power and they want to take me out of that equation to eliminate part of that power.” 142

       215.       In a 2015 interview with WCCO Radio, Kroll was attacking Mayor Hodges

when Harteau called into the radio show. Harteau and Kroll debated over MPD policy and

practice with respect to protests outside the MPD’s Fourth Precinct building, with Kroll

pushing for MPD to adopt a more aggressive response to the protests, this policy debate

and Kroll’s insubordination occurred despite his ostensibly limited role as a mere

lieutenant. 143

       216.       Kroll’s public statements to the news media and at political rallies underscore

the shadow command structure that has emerged under his leadership at the Federation.

Kroll has appeared many times on local and national television and on radio, disparaging

official police policy and undermining the authority of the MPD command structure. Kroll

has used these public appearances to render his own and the Federation’s positions on MPD

policy, practice, and custom. For example, onstage at a rally for President Trump viewed

by millions on national television, Kroll complained generally that police reforms

advanced by President Obama and the Department of Justice were “despicable,” and

accused the Department of Justice of “putting handcuffs on the police,” that were “taken




142
    http://www.citypages.com/news/activists-claim-police-union-chief-bob-kroll-is-racist-
7877832
143
    https://www.youtube.com/watch?v=fLbePial8xI

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off” by the Trump Administration. 144 Kroll stated in a 2019 radio interview that officers

had the right to attend the prohibited “warrior-style” training and that “this isn’t the Soviet

Republic of Minneapolis, although a lot of the progressive politicians would like it to

become that.” 145

       217.      Kroll has also publicly downplayed issues with officer misconduct, stating,

"You show me an officer who's never had a [misconduct] complaint in 30 years and I'll

show you an officer that's what we call on the job, a load or a slug — that doesn't do

anything.” 146

       218.      In March 2020, Kroll bragged about his impunity on law enforcement

podcast “The Skirmish Line”: “I’ve had 54 complaints filed against me over my 31 years,

and I’m still here. I’m still Lieutenant. I’ve been disciplined, but none of it has ever been

upheld. I’ve been sued 11 times.” 147 In explaining how the Federation “lessen[s] the

impact” of civilian oversight of the police, Kroll stated that the Federation “coach[es]”

officers facing discipline on how to give a statement during the investigation, specifically,

“how to verbalize the justification for their actions,” because some officers need

“assistance” to explain their conduct.




144
    https://www.cnn.com/videos/politics/2020/06/01/minneapolis-police-union-president-
praise-trump-campaign-rally.cnn
145
    https://wccoradio.radio.com/media/audio-channel/bob-kroll-chad-hartman-4-19mp3
146
    https://www.mprnews.org/story/2020/06/12/calls-for-mpd-union-leaders-resignation-
grow-louder
147
    https://theskirmishline.podbean.com/e/s01e04-a-discussion-about-civilian-oversight-
of-the-police

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       219.    In 2016, the MPD terminated officer Rod Webber after he pulled over a car

containing four Somali teens, held them without arrest for 45 minutes, and threatened to

break the legs of one of the teens. This incident was captured on cell phone video. Kroll

commended Webber in an interview, stating Webber was a “highly decorated 25-year

veteran officer” and that the termination was “unwarranted.” 148 The federation filed a

grievance contesting his termination. 149

       220.    In 2016, Chief Harteau attempted to fire Officer Blayne Lehner, whose

lengthy record of misconduct is described above, after a 2014 incident of excessive force

by Lehner. The Federation filed a grievance, arguing that the termination constituted

disparate treatment of Lehner “by punishing him more severely than other officers who

have engaged in more serious misconduct.” 150 The arbitrator agreed, overturning the

termination and explaining “the comparator evidence submitted by the Union shows that

other officers who have engaged in other policy violations have received discipline short

of discharge.” 151

       221.    Incredibly, at the time of his 2016 attempted termination, Lehner was a

member of the Federation board. Kroll stated in response to Lehner’s termination that

“Blayne Lehner is an exceptional officer and federation board member,” that Lehner was



148
    https://minnesota.cbslocal.com/2016/01/25/minneapolis-officer-who-allegedly-
threatened-to-break-teens-leg-fired/
149
    https://minnesota.cbslocal.com/2016/01/28/mpls-police-union-files-grievances-over-2-
officer-firings/
150
    https://mn.gov/bms/documents/BMS/127868-20161006-Mpls.pdf
151
    https://mn.gov/bms/documents/BMS/127868-20161006-Mpls.pdf


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an “excellent cop” who had “served the city well,” and called him a “great cop.” 152 Lehner

was ultimately terminated in 2019 for unspecified misconduct.

       222.   The Lehner saga demonstrates how the MPD’s policy, practice, and custom

of lax discipline, driven by Kroll’s negative influence, created a culture of impunity at the

MPD that was on display during the MPD’s response to the George Floyd protests.

       223.   At a 2018 U.S. Civil Rights Commission hearing, Kroll testified, among

other things, about the death of Eric Garner, who was suffocated by New York police

officers while complaining he couldn’t breathe, in a horrific precursor to the murder of

George Floyd. With respect to Garner’s death, Kroll testified, “of course we had the Eric

Garner situation, he said he couldn’t breathe 11 times. Now you can’t breathe, you can’t

say you can’t breathe, particularly 11 times. It was a false narrative.” 153 In an example of

Kroll’s malign influence on MPD customs and culture, Officer Chauvin parroted Kroll as

he kneeled on George Floyd’s neck, dismissing Floyd’s pleas that he couldn’t breathe and

stating, “it takes a heck of a lot of oxygen to talk.”

       224.   At that same hearing before the Civil Rights Commission, Kroll attacked the

news media, accusing it of perpetuating “false narratives” about the MPD that “ha[ve] set

us back greatly,” and that because of “adverse effect in the media,” MPD officers were

“thinking twice before getting out and investigating suspicious circumstances.” 154




152
    https://www.mprnews.org/story/2016/10/18/minneapolis-police-officer-reinstated-
after-firing; https://minnesota.cbslocal.com/2016/10/18/mpls-cop-fired-blayne-lehner/
153
    https://www.usccr.gov/pubs/2018/03-22-MN-Civil-Rights.pdf
154
    https://www.usccr.gov/pubs/2018/03-22-MN-Civil-Rights.pdf

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      225.   Kroll’s dismissive attitude toward use of force complaints and hostility

toward the news media have infected the MPD. His decades of service in Federation

leadership, and his strong public and private statements on those issues, have shaped MPD

custom and practice, and MPD leadership and the City are well aware of Kroll’s influence

on MPD policy, practice, and custom.

      226.   Notably, Kroll has a long history of racist and inflammatory statements and

conduct, from calling Attorney General (then Congressman) Keith Ellison a “terrorist,” to

his membership in the City Heat off-duty law enforcement motorcycle club, an

organization called out by the Anti-Defamation League for displaying white supremacist

symbols, including Ku Klux Klan symbols and “proud to be white” patches. 155 Kroll was

asked in a 2009 interview about the motorcycle club, and specifically a picture in which

one member’s motorcycle jacket included a KKK cross emblem with an “I’m Here For

The Hanging” patch right below it. Kroll said the patch, worn by someone Kroll believed

was a Chicago-area member of the club, was being misinterpreted as racist, stating it was

“some type of inside joke with Chicago.” He elaborated for the reporter:

              “Aren’t you aware of hangings in old Western shows?” Kroll
             asked. He believes the patch stems from “Beer for My Horses,”
             a country-western song Kroll says is popular among cops
             because of its strong law-and-order lyrics. The song “has
             reference to taking all the rope in Texas, find a tall oak tree,
             round up all of them bad boys, hang ’em high in the street,”
             Kroll said. “Great song — I have the CD.” 156

155
   https://www.adl.org/sites/default/files/documents/assets/pdf/combating-
hate/ADL_CR_Bigots_on_Bikes_online.pdf
156
   https://www.twincities.com/2009/01/10/ruben-rosario-cops-off-duty-club-questioned-
in-lawsuit/

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Kroll’s misconduct, including his membership in City Heat and his contribution to the

MPD’s racist culture, was called out in a 2009 Section 1983 action filed by current Chief

Arradondo and several other plaintiffs.

       227.   Kroll has a reputation for violent threats and conduct both on and off-duty,

including against journalists. In October 2018, the Southside Pride newspaper wrote an

article about Kroll that discussed, among other things, Arradondo’s 2009 racial

discrimination lawsuit that included allegations about Kroll. Kroll called the reporter and

left him an angry voicemail, stating, “You want to talk about facts? Or you just wanna

keep on reporting the same garbage you’ve been reporting your whole life? I’d love to

meet with you and discuss our differences anytime, anywhere. I don’t know you, but you

seem to know a lot about me. I’ve about had it with your garbage bullshit reporting. I’m

available, [phone number], if you’ve got the guts, but I doubt it.” 157

       228.   In October 2019, a local Jewish activist visited Kroll at Federation

headquarters to complain about Kroll’s participation in the Trump rally. The conversation

devolved, and the activist called Kroll an asshole, at which point Kroll walked up to the

activist and threatened, “Say that again. I dare you. I’m not wearing a body camera.” 158

       229.   In November 2019, Kroll responded angrily to a Minneapolis resident who

had left a comment on the Federation’s Facebook page calling Kroll a “Nazi” after Kroll

appeared on stage at a Donald Trump rally. Kroll wrote back, publicly: “If you hate me so


157
   https://southsidepride.com/2018/10/16/still-out-of-control-part-two/
158
   http://www.citypages.com/news/bob-kroll-sat-down-with-a-local-jewish-activist-it-
didnt-go-well/563847601

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much, why don’t you stop by and beat the shit out of me? 1811 University Ave. NE. Mid

day Mon-Fri. My bet is it won't happen, because you are a cowardly cunt.” 159

       230.   In 2008, Kroll was sued after assaulting several individuals while off-duty.

During this proceeding, three separate witnesses testified they saw Kroll repeatedly kick

the plaintiff in the head while the plaintiff lay handcuffed on the sidewalk. The case settled

for an undisclosed amount after Kroll’s motion for summary judgment was denied. Kroll

was suspended for 160 hours as a result of this incident, though this discipline was

apparently overturned. 160 This 2008 suit was just one of 11 times Kroll has been sued. As

he has bragged publicly, there have been 54 complaints filed against him, but he has never

been disciplined.

       231.   Kroll and the Federation have continued to lay blame for the MPD’s

deteriorating reputation on the news media, in an unsubtle message to the rank-and-file that

the media is their enemy. For example, Federation Vice President Sherral Schmidt stated

recently: “we’ve watched an ongoing barrage of media stories that continue to unfairly

demonize an entire profession over the actions of a very few.” 161

       232.   When a Washington Post reporter knocked on Kroll’s door seeking comment

on the George Floyd killing, he was soon pulled over by a police officer who said that Kroll




159
    http://www.citypages.com/news/bob-kroll-calls-random-minneapolis-man-cowardly-
cunt/566024921
160
    http://www.citypages.com/news/activists-claim-police-union-chief-bob-kroll-is-racist-
7877832
161
    https://kstp.com/news/minneapolis-police-union-blames-failed-leadership-for-riots-
violence-june-23-2020/5769384/

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had reported suspicious activity on his front porch and that “he doesn’t want any press.” 162

This traffic stop apparently at Kroll’s request was made with no probable cause and was

clearly an attempt to intimidate the reporter at Kroll’s direction. 163

       233.    Thus, past and present Minneapolis mayors, Minneapolis City Council

members, past and present MPD commanders, the Hennepin County Attorney’s Office,

community leaders, Federation leaders, other unions, and Kroll himself, understand and

articulate that Kroll plays what amounts to an official role in the establishment of MPD

policy, practice, and custom. The MPD’s failures of training and supervision have in some

instances been caused, and in some instances been exacerbated, by Kroll’s actions. Kroll

in his capacity as Federation President has historically displayed a reckless and deliberate

indifference to the constitutional rights of Minnesotans as a whole, but also specifically to

the constitutional rights of the Plaintiffs in this case.

       234.    The comments of Mayor Rybak, Mayor Frey, Chief Harteau, Chief

Arradondo, and others quoted above demonstrate that the MPD command structure does

not have complete command of the department. Kroll exercises control as well, acting

essentially as official source of policy, practice, and custom at the MPD, sometimes in

concert with and sometimes in contravention of City policy. The widespread lawlessness

and disregard for the Constitution displayed by MPD officers during the George Floyd

protests derives not just from the unconstitutional actions of the State and Municipal


162
    https://www.washingtonpost.com/nation/2020/06/03/george-floyd-police-officers-
charges/
163
    https://www.washingtonpost.com/nation/2020/06/03/george-floyd-police-officers-
charges/

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Defendants, but also from Kroll’s reckless and deliberate indifference to Plaintiffs’

constitutional rights.

       235.   Defendants City of Minneapolis and Arradondo enabled Kroll’s usurpation

of authority by failing to negotiate with the Federation for adequate controls that would

prevent the MPD and its officers from violating individuals, including Plaintiffs’,

constitutional rights.

       236.   Kroll acted under color of state law in advancing his own preferred policies,

practices, and customs at MPD. Kroll implicitly and explicitly directed officers to operate

in a manner abhorrent to the Constitution by encouraging officers to use unnecessary force

on the citizens of Minneapolis, by thwarting discipline and enabling a culture and practice

of immunity from sanction for constitutional violations, and by creating a climate of

hostility to media and the press that resulted in the abuses of Plaintiffs described above.

Kroll cloaked these policy goals in state power by using his status as a law enforcement

officer to advance those goals, and he used the Federation’s financial and political power

to breathe life into his preferred MPD customs and practices. The MPD’s unconstitutional

policies, practices, and customs, and the injuries to Plaintiffs and the Plaintiff Class, derive

at least in part from the acts done under color of state law by Kroll.

                                 CLASS ALLEGATIONS

       237.   Under Rules 23(a) and 23(b)(1) and (2) of the Federal Rules of Civil

Procedure, Plaintiffs bring this action for prospective relief on behalf of themselves and




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other similarly situated people who, as members of the news media 164, will in the future

observe and record protest activity and the conduct of law enforcement officers on duty in

public places within the cities of Minneapolis and Saint Paul in traditional or designated

public fora (the “Plaintiff Class”). The Plaintiff Class is defined as:

               All members of the news media, as the term is used in Emergency
       Executive Order 20-69, who are engaged in news gathering or reporting
       activities in Minnesota.

       238.   The Plaintiff Class is so numerous that joinder of all the members would be

impracticable. Hundreds of members of the news media operate in Minnesota.

       239.   As a result of the State and Municipal Defendants’ customs and policies of

arresting members of the news media, targeting them with less-lethal projectiles and

chemical irritants without constitutionally adequate justification or warning, denying them

freedom of movement to observe and record public demonstrations and law enforcement

officers on duty, and intimidation by threats of violence, the Plaintiff Class have been and

will continue to be deprived of their constitutional rights under the First, Fourth, and

Fourteenth Amendments.

       240.   Plaintiffs’ claims for prospective relief are typical of the members of the

Plaintiff Class because protests are ongoing and Plaintiffs and the Plaintiff Class members

have a reasonable fear that Defendants will continue to carry out their unconstitutional

customs or policies of deploying less-lethal projectiles and chemical irritants without

constitutionally adequate warning, denying them freedom of movement to observe and


164
  The term “members of the news media” is used in the Curfew Orders as well as the
May 29, 2020 City of Minneapolis Emergency Regulation No. 2020-2-1.

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record public demonstrations and law enforcement officers on duty, and intimidation by

threats of violence.

       241.   Plaintiffs will fairly and adequately protect the interests of the Plaintiff Class.

Plaintiffs have no conflicts involving other class members or Defendants. Plaintiffs

understands their role as class representatives and their duties to the class in this litigation.

Plaintiffs are represented by competent and skilled counsel whose interests are fully

aligned with the interests of the class.

       242.   Questions of law or fact are common to the class. These legal and factual

questions include but are not limited to:

              a.       Do arrests and targeting of journalists through a series of common

                       methods violate the First, Fourth, and Fourteenth Amendments?

              b.       Are the State and Municipal Defendants liable for implementing an

                       unlawful policy or custom as set forth under principles of municipal

                       liability?

              c.       Have the State and Municipal Defendants manifested a failure to

                       properly train and supervise their agents and officers?

              d.       Have the State and Municipal Defendants exhibited a reckless and

                       deliberate indifference to the unconstitutional conduct alleged herein?

       243.   Maintaining individual actions would create a risk of “inconsistent or varying

adjudications with respect to individual class members that would establish incompatible

standards of conduct for the party opposing the class.” Fed. R. Civ. P. 23(b)(1)(A). Multiple

courts issuing multiple injunctions governing the engagement and use-of-force standards


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for law enforcement would be entirely untenable. Doing so would only contribute to a state

of uncertainty and confusion that allows the constitutional violations described in this

complaint to continue.

       244.   This case involves “adjudications with respect to individual class members

that, as a practical matter, would be dispositive of the interests of the other members not

parties to the individual adjudications.” Fed. R. Civ. P. 23(b)(1)(A). A ruling with respect

to a single Plaintiff in this case would arguably be strong stare decisis—if not necessarily

res judicata—with respect to other putative class members and members of the law

enforcement community. There is no benefit to allowing the overwhelmingly common

issues in this case to be litigated individually. The interests of both class members and

defendants requires classwide treatment.

       245.   Finally, “the party opposing the class has acted or refused to act on grounds

that apply generally to the class, so that final injunctive relief or corresponding declaratory

relief is appropriate respecting the class as a whole[.]” Fed. R. Civ. P. 23(b). There is no

allegation that Plaintiffs have been targeted because of anything unique to them as

individuals. Rather, they have been repeatedly targeted because of their membership in a

class of journalists. Plaintiffs’ targeting exists only by virtue of a broader pattern and

practice of unconstitutional conduct directed at journalists as a class. Logically, injunctive

relief for the “class as a whole” is the only mechanism available to afford relief in light of

conduct directed specifically to the class.




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                                  CAUSES OF ACTION

                                   COUNT I:
      First Amendment—Free Speech, Free Press, Free Assembly, 42 U.S.C. § 1983

        246.   Plaintiffs165 and the Plaintiff Class restate and reallege all previous

paragraphs of this Complaint.

        247.   Plaintiffs and the Plaintiff Class engaged in constitutionally protected acts of

observing and recording events of public interest, including public demonstrations and the

conduct of law enforcement officers on duty in a public place. Plaintiffs and the Plaintiff

Class will continue to do so in the future to cover the events related to the protests and law

enforcement’s response.

        248.   Defendants, acting under color of law, used excessive force to curb Plaintiffs’

and the Plaintiff Class’ exercise of their First Amendment rights.

        249.   Plaintiffs and the Plaintiff Class reasonably fear the continued deployment

of chemical agents without warning, unlawful seizure, and excessive force through the

firing of flash bang grenades, less-lethal projectiles, riot batons, and other means if they

continue to engage in constitutionally protected activity.

        250.   These acts would chill a reasonable person from continuing to engage in a

constitutionally protected activity. These acts did, in fact, chill Plaintiffs and the Plaintiff

Class from continuing to observe and record some events of public interest, including




165
   For purposes of Paragraphs 246-337 and the Prayer for Relief, “Plaintiffs” includes
members of CWA represented in this litigation by Plaintiff CWA. Plaintiff CWA seeks
only declaratory and injunctive relief on behalf of its members.


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constitutionally protected demonstrations and the conduct of law enforcement officers on

duty in a public place.

       251.   It was the State and Municipal Defendants’ custom and policy, as well as

their failure to train and supervise their officers, and issue corrective instructions after

violations were brought to light, that caused Defendants to violate the First Amendment

rights of Plaintiffs and the Plaintiff Class.

       252.   The State and Municipal Defendants’ failure to supervise and train their

employees and agents with respect to the First Amendment rights of Plaintiffs and the

Plaintiff Class, including a failure to investigate and discipline officers for First

Amendment violations, amounts to reckless and deliberate indifference to the rights of

Plaintiffs and the Plaintiff Class.

       253.   The pattern of similar constitutional violations against Plaintiffs and the

Plaintiff Class that occurred during the Floyd protests demonstrates the reckless and

deliberate indifference of the State and Municipal Defendants to the rights of Plaintiffs and

the Plaintiff Class.

       254.   Given the multiple constitutional violations documented above, the State and

Municipal Defendants’ lengthy past pattern and practice of such violations, the multiple

past federal lawsuits arising out of such violations, and the multiple Department of Justice

reports recommending changes in supervision and training protocol regarding individuals’

constitutional rights, the need for more supervision or training was so obvious, and the

inadequacy of the training and supervision so likely to result in the violation of




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 constitutional rights, that the State and Municipal Defendants demonstrated their reckless

 and deliberate indifference to the need for such training and supervision.

         255.   Further, the excessive and unlawful use of force, and the rampant

constitutional violations, were so widespread, well-known, and obvious to Defendants, that

Defendants’ continued use of excessive force against Plaintiffs and the Plaintiff Class, and

continued violation of constitutional rights, was willful and recklessly indifferent to the

rights of Plaintiff and the Plaintiff class.

         256.   Plaintiff Goyette’s First Amendment rights were violated when he was

deliberately targeted and shot with a less-lethal projectile during the course of his reporting

activities.

         257.   Plaintiff Lassig’s First Amendment rights were violated when police arrested

him without probable cause and despite Lassig identifying himself as a member of the

press.

         258.   Plaintiff Maury’s First Amendment rights were violated when police arrested

him without probable cause and despite Maury identifying himself as a member of the

press.

         259.   Plaintiff Maturen’s First Amendment rights were violated when police

arrested him without probable cause and despite Maturen identifying himself as a member

of the press.

         260.   Plaintiff Shum’s First Amendment rights were violated when State Troopers

threatened and assaulted him, despite Shum identifying himself as a member of the press.




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         261.   Plaintiff Nelson’s First Amendment rights were violated when police and

 State Troopers threatened and assaulted her, despite her identifying herself as member of

 the press.

         262.   Plaintiff Shum’s First Amendment rights were violated when he was targeted

 and assaulted by Minnesota State Patrol Troopers.

         263.   Plaintiff Shum’s First Amendment rights were violated when he was

deliberately targeted and shot with a less-lethal projectile during the course of his reporting

activities.

         264.   The First Amendment rights of the NewsGuild members identified above

were violated when they were arrested without probable cause, shot with less-lethal

projectiles, tear-gassed, pepper sprayed, and otherwise assaulted and harassed by law

enforcement.

         265.   Plaintiffs Shum and Goyette suffered physical injury as a direct and

proximate result of Defendants’ violations of their constitutional rights.

         266.   Defendants are jointly and severally liable to Plaintiffs and the Plaintiff

Class.

                                     COUNT II:
                      First Amendment—Retaliation, 42 U.S.C. § 1983

         267.   Plaintiffs and the Plaintiff Class restate and reallege all previous paragraphs

 of this Complaint.

         268.   Plaintiffs and the Plaintiff Class engaged in constitutionally protected acts of

 observing and recording events of public interest, including public demonstrations and the



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conduct of law enforcement officers on duty in a public place. Plaintiffs and the Plaintiff

Class will continue to do so in the future to cover the events related to the protests and law

enforcement’s response.

       269.   Defendants retaliated against Plaintiffs and the Plaintiff Class for engaging

in constitutionally protected activity. Defendants’ retaliation is part of a pattern or practice

of unconstitutional conduct that is certain to continue absent any relief.

       270.   Plaintiffs and the Plaintiff Class reasonably fear the continued deployment

of chemical agents without warning, unlawful seizure, and excessive force through the

firing of flash bang grenades, less-lethal projectiles, riot batons, and other means if they

continue to engage in constitutionally protected activity.

       271.   These acts would chill a reasonable person from continuing to engage in a

constitutionally protected activity. These acts did, in fact, chill Plaintiffs and the Plaintiff

Class from continuing to observe and record some events of public interest, including

constitutionally protected demonstrations and the conduct of law enforcement officers on

duty in a public place.

       272.   It was the State and Municipal Defendants’ custom and policy, as well as

their failure to train and supervise their officers, and issue corrective instructions after

violations were brought to light, that caused the First Amendment retaliation.

       273.   The State and Municipal Defendants’ failure to supervise and train their

employees and agents with respect to the First Amendment rights of Plaintiffs and the

Plaintiff Class, including a failure to investigate and discipline officers for First




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Amendment violations, amounts to reckless and deliberate indifference to the rights of

Plaintiffs and the Plaintiff Class.

        274.    The pattern of similar constitutional violations against Plaintiffs and the

Plaintiff Class that occurred during the Floyd protests demonstrates the reckless and

deliberate indifference of the State and Municipal Defendants to the rights of Plaintiffs and

the Plaintiff Class.

        275.    Given the multiple constitutional violations documented above, the State and

Municipal Defendants’ lengthy past pattern and practice of such violations, the multiple

past federal lawsuits arising out of such violations, and the multiple Department of Justice

reports recommending changes in supervision and training protocol regarding individuals’

constitutional rights, the need for more supervision or training was so obvious, and the

inadequacy of the training and supervision so likely to result in the violation of

constitutional rights, that the State and Municipal Defendants demonstrated their reckless

and deliberate indifference to the need for such training and supervision.

       276.     Further, the excessive and unlawful use of force, and the rampant

constitutional violations, were so widespread, well-known, and obvious to Defendants, that

Defendants’ continued use of excessive force to retaliate against Plaintiffs and the Plaintiff

Class, and continued retaliatory violation of constitutional rights, was willful and recklessly

indifferent to the rights of Plaintiff and the Plaintiff Class.

       277.     Plaintiff Goyette’s First Amendment rights were violated when he was

deliberately targeted and shot with a less-lethal projectile during the course of his reporting

activities in retaliation for those activities.


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        278.   Plaintiff Lassig’s First Amendment rights were violated when police arrested

him without probable cause and despite Lassig identifying himself as a member of the press

in retaliation for Lassig’s constitutionally protected activity.

        279.   Plaintiff Maury’s First Amendment rights were violated when police arrested

him without probable cause and despite Maury identifying himself as a member of the

press in retaliation for Maury’s constitutionally protected activity.

        280.   Plaintiff Maturen’s First Amendment rights were violated when police

arrested him without probable cause and despite Maturen identifying himself as a member

of the press in retaliation for Maturen’s constitutionally protected activity.

        281.   Plaintiff Shum’s First Amendment rights were violated when State Troopers

threatened and assaulted him, despite Shum identifying himself as a member of the press

in retaliation for Shum’s constitutionally protected activity.

       282.    Plaintiff Shum’s First Amendment rights were violated when he was

deliberately targeted and shot with a less-lethal projectile during the course of his reporting

activities in retaliation for Shum’s constitutionally protected activity.

        283.   Plaintiff Nelson’s First Amendment rights were violated when Minneapolis

Police and State Troopers threatened and assaulted her, despite her identifying herself as

member of the press in retaliation for her constitutionally protected activity.

       284.    The First Amendment rights of the NewsGuild members identified above

were violated when they were arrested without probable cause, shot with less-lethal

projectiles, tear-gassed, pepper sprayed, and otherwise assaulted and harassed by law

enforcement in retaliation for their constitutionally protected activity.


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          285.   Plaintiffs Shum and Goyette suffered physical injury as a direct and

proximate result of Defendants’ violations of their constitutional rights.

          286.   Plaintiffs and the Plaintiff Class reasonably fear further retaliation in the

 future if they continue to observe, record, or participate in constitutionally protected

 activity.

          287.   The fear of future retaliation establishes an ongoing and continuous injury

 by chilling their exercise of their First Amendment rights, which will not be remedied by

 any alleged policy changes voluntarily undertaken by the State and Municipal Defendants.

                              COUNT III:
    Fourth Amendment—Unlawful Seizure and Excessive Force, 42 U.S.C. § 1983

          288.   Plaintiffs and the Plaintiff Class restate and reallege all previous paragraphs

 of this Complaint.

         289.    Plaintiffs and the Plaintiff Class were seized by Defendants when their

officers intentionally, through the use of force and threat of arrest, chemical agents, and

nonlethal projectiles, terminated their freedom of movement. Defendants were acting under

color of law when they violated the Fourth Amendment rights of Plaintiff and the Plaintiff

Class.

          290.   Members of the Plaintiff Class were also seized by Defendants when they

 were arrested and detained.

         291.    Plaintiff Goyette’s Fourth Amendment rights were violated when he was

deliberately targeted and shot with a less-lethal projectile during the course of his reporting

activities.



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        292.   Plaintiff Lassig’s Fourth Amendment rights were violated when he was

 detained, booked, and cited for curfew violation without probable cause and after

 identifying himself as a member of the news media.

        293.   Plaintiff Maury’s Fourth Amendment rights were violated when he was

 detained, booked, and cited for curfew violation without probable cause and after

 identifying himself as a member of the news media.

        294.   Plaintiff Maturen’s Fourth Amendment rights were violated when he was

 detained, booked, and cited for curfew violation without probable cause and after

 identifying himself as a member of the news media.

        295.   Plaintiff Shum’s Fourth Amendment rights were violated when State

 Troopers used force to terminate his freedom of movement, despite Shum identifying

 himself as a member of the press.

       296.    Plaintiff Shum’s Fourth Amendment rights were violated when he was

deliberately targeted and shot with a less-lethal projectile during the course of his reporting

activities.

        297.   Plaintiff Nelson’s Fourth Amendment rights were violated when police and

State Troopers used force to terminate her freedom of movement, despite Nelson

identifying herself as member of the press.

       298.    The Fourth Amendment rights of the NewsGuild members identified above

were violated when they were arrested without probable cause, shot with less-lethal

projectiles, tear-gassed, pepper sprayed, and otherwise assaulted and harassed by law

enforcement.


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         299.   Defendants committed these acts without forewarning and, as a result,

Defendants’ acts were objectively unreasonable and constituted unlawful seizure and

excessive force.

         300.   Plaintiffs and the Plaintiff Class did not commit a crime, because as members

of the news media, they were specifically exempted from the Curfew Orders and permitted

to cover the protests outside the restricted times.

         301.   Plaintiffs and the Plaintiff class did not pose a threat to any of Defendants’

officers or agents or any other person.

         302.   It was the State and Municipal Defendants’ custom and policy, as well as

their failure to train and supervise their officers, and issue corrective instructions after

violations were brought to light, that caused the unlawful seizures and excessive use of

force.

         303.   The State and Municipal Defendants’ failure to supervise and train their

employees and agents with respect to the Fourth Amendment rights of Plaintiffs and the

Plaintiff Class, including a failure to investigate and discipline officers for Fourth

Amendment violations, amounts to reckless and deliberate indifference to the rights of

Plaintiffs and the Plaintiff Class.

         304.   The pattern of similar constitutional violations against Plaintiffs and the

Plaintiff Class that occurred during the Floyd protests demonstrates the reckless and

deliberate indifference of the State and Municipal Defendants to the rights of Plaintiffs and

the Plaintiff Class.




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        305.       Given the multiple constitutional violations documented above, the State and

Municipal Defendants’ lengthy past pattern and practice of such violations, the multiple

past federal lawsuits arising out of such violations, and the multiple Department of Justice

reports recommending changes in supervision and training protocol regarding individuals’

constitutional rights, the need for more supervision or training was so obvious, and the

inadequacy of the training and supervision so likely to result in the violation of

constitutional rights, that the State and Municipal Defendants demonstrated their reckless

and deliberate indifference to the need for such training and supervision.

       306.        Further, the excessive and unlawful use of force, and the rampant

constitutional violations, were so widespread, well-known, and obvious to Defendants, that

Defendants’ continued use of excessive force against Plaintiffs and the Plaintiff Class, and

continued violation of constitutional rights, and failure to supervise, discipline, or correct

these violations was willful and recklessly indifferent to the rights of Plaintiff and the

Plaintiff class.

        307.       As a direct and proximate result of Defendants’ violations of Plaintiffs’

constitutional rights, Plaintiffs Goyette and Shum have suffered physical injury.

        308.       Plaintiffs and the Plaintiff Class reasonably fear further violation of the

Fourth Amendment if they continue to observe, record, or participate in constitutionally

protected activity.




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                                   COUNT IV:
           Fifth and Fourteenth Amendment—Due Process, 42 U.S.C. § 1983

         309.   Plaintiffs and the Plaintiff Class restate and reallege all previous paragraphs

of this Complaint.

         310.   The Due Process rights of Plaintiffs and the Plaintiff Class were violated

when the State and Municipal Defendants, through their officers and agents, arrested

members of the Plaintiff Class without probable cause, and deployed chemical agents and

nonlethal projectiles without providing a warning and opportunity to disperse in a way that

a person of ordinary intelligence could understand and comply with.

         311.   It was the State and Municipal Defendants’ custom and policy, as well as

their failure to train and supervise their officers, and issue corrective instructions after

violations were brought to light, that caused the due process violations.

         312.   The State and Municipal Defendants’ failure to supervise and train their

employees and agents with respect to the Due Process rights of Plaintiffs and the Plaintiff

Class, including a failure to investigate and discipline officers for Due Process violations,

amounts to reckless and deliberate indifference to the rights of Plaintiffs and the Plaintiff

Class.

         313.   The pattern of similar constitutional violations against Plaintiffs and the

Plaintiff Class that occurred in prior protests and during the George Floyd protests

demonstrates the reckless and deliberate indifference of the State and Municipal

Defendants to the rights of Plaintiffs and the Plaintiff Class.




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        314.       Given the multiple constitutional violations documented above, the State and

Municipal Defendants’ lengthy past pattern and practice of such violations, the multiple

past federal lawsuits arising out of such violations, and the multiple Department of Justice

reports recommending changes in supervision and training protocol regarding individuals’

constitutional rights, the need for more supervision or training was so obvious, and the

inadequacy of the training and supervision so likely to result in the violation of

constitutional rights, that the State and Municipal Defendants demonstrated their reckless

and deliberate indifference to the need for such training and supervision.

       315.        Further, the excessive and unlawful use of force, and the rampant

constitutional violations, were so widespread, well-known, and obvious to Defendants, that

Defendants’ continued use of excessive force against Plaintiffs and the Plaintiff Class, and

continued violation of constitutional rights, and failure to supervise, discipline, or correct

these violations was willful and recklessly indifferent to the rights of Plaintiff and the

Plaintiff class.

       316.        Plaintiff Goyette’s Fifth and Fourteenth Amendment rights were violated

when he was deliberately targeted and shot with a rubber bullet during the course of his

reporting activities.

        317.       Plaintiff Lassig’s Fifth and Fourteenth Amendment rights were violated

when he was detained, arrested, and cited for a curfew violation despite a lack of probable

cause for the arrest and after he had identified himself as a member of the news media.




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       318.    Plaintiff Maury’s Fifth and Fourteenth Amendment rights were violated

when he was detained, arrested, and cited for a curfew violation despite a lack of probable

cause for the arrest and after he had identified himself as a member of the news media.

       319.    Plaintiff Maturen’s Fifth and Fourteenth Amendment rights were violated

when he was detained, arrested, and cited for a curfew violation despite a lack of probable

cause for the arrest and after he had identified himself as a member of the news media.

       320.    Plaintiff Shum’s Fifth and Fourteenth Amendment rights were violated when

State Troopers threatened and assaulted him, despite Shum identifying himself as a

member of the press.

       321.    Plaintiff Nelson’s Fifth and Fourteenth Amendment rights were violated

when police and State Troopers threatened and assaulted her, despite her identifying herself

as member of the press.

       322.    The Fifth and Fourteenth Amendment rights of the NewsGuild members

identified above were violated when they were arrested without probable cause, shot with

less-lethal projectiles, tear-gassed, pepper sprayed, and otherwise assaulted and harassed by

law enforcement.

       323.    Plaintiffs and the Plaintiff Class reasonably fear further violation of the right

to due process in the future if they observe, record, or participate in constitutionally

protected activity.




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                                   COUNT V:
                         CIVIL CONSPIRACY, 42 U.S.C. § 1983

       324.    Plaintiffs and the Plaintiff Class restate and reallege all previous paragraphs

of this Complaint.

       325.    Defendants conspired, under color of law, to deprive Plaintiffs and the

Plaintiff Class of their constitutional rights.

       326.    Defendants acted in concert and committed overt acts in furtherance of the

conspiracy. Defendants targeted members of the press and used unlawful, excessive force

to interfere with and retaliate against the Plaintiffs’ and the Plaintiff Class’s exercise of

their constitutional rights.

       327.    Defendants coordinated with one another prior to and during the George

Floyd protests regarding their response to the protests and to the journalists covering the

protests.

       328.    As described above, Defendants engaged in overt acts in furtherance of their

conspiracy to violate the constitutional rights of Plaintiffs and the Plaintiff Class, and these

overt acts injured Plaintiffs and the Plaintiff Class.

       329.    Defendants acted with reckless and deliberate indifference to the

constitutional rights of Plaintiffs and the Plaintiff Class.

       330.    Plaintiffs and the Plaintiff Class reasonably fear Defendants will continue to

conspire to violate the constitutional rights of Plaintiff and the Plaintiff Class.




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                                  COUNT VI:
                     FAILURE TO INTERVENE, 42 U.S.C. § 1983

       331.   Plaintiffs and the Plaintiff Class restate and reallege all previous paragraphs

of this Complaint.

       332.   During the constitutional violations described in this Complaint, Defendants,

including but not limited to John Doe supervisors and commanders in the MPD and

Minnesota State Patrol, Commander Langer, Chief Arradondo, and Commissioner

Harrington, stood by without intervening to prevent the misconduct.

       333.   Defendants had a duty to intervene to prevent the constitutional harms and

personal injuries described in this Complaint.

       334.   Defendants had the authority to intervene to prevent the constitutional harms

and personal injuries described in this Complaint.

       335.   Defendants had a reasonable opportunity to prevent the constitutional harms

and personal injuries described in this Complaint but failed to do so.

       336.   Defendants acted with reckless and deliberate indifference to the

constitutional rights of Plaintiffs and the Plaintiff Class when they failed to intervene to

prevent the constitutional harms and personal injuries described in this Complaint.

       337.   The misconduct described in this Count was undertaken under color of state

law, and Defendants acted at all times under the color of state law when they failed to

intervene to prevent the constitutional harms and personal injuries described in this

Complaint.




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                                 PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, individually and as representatives of the class defined

herein, pray for relief as follows:

       A.     A determination that this action may proceed as a class action under Rule
              23(b)(1) or 23(b)(2) of the Federal Rules of Civil Procedure;

       B.     Designation of Plaintiffs as Class Representative and designation of
              Plaintiffs’ counsel as class counsel;

       C.     A declaration that Defendants’ conduct violated the First, Fourth, Fifth, and
              Fourteenth Amendments of the U.S. Constitution;

       D.     A permanent injunction barring:

              1.      Use of chemical agents on Plaintiffs or a Plaintiff Class Member,
                      including but not limited to mace/oleoresin capsicum spray or
                      mist/pepper spray/pepper gas, tear gas, skunk, inert smoke, pepper
                      pellets, xylyl bromide, and similar substances, where the Plaintiff or
                      Plaintiff Class Member has identified themselves as a member of the
                      news media or it is reasonably clear that the individual is engaged in
                      news gathering activities, except where Plaintiffs or Plaintiff Class
                      Members present an imminent threat of violence or bodily harm to
                      persons or damage to property;

              2.      Use of physical force against Plaintiffs or a Plaintiff Class Member,
                      including through the use of flash bang grenades, non-lethal
                      projectiles, riot batons, or any other means, where the Plaintiff or
                      Plaintiff Class Member has identified themselves as a member of the
                      news media or it is reasonably clear that the individual is engaged in
                      news gathering activities, except where Plaintiffs or Plaintiff Class
                      Members present an imminent threat of violence or bodily harm to
                      persons or damage to property;

              3.      The arrest, detention, or taking into custody of Plaintiffs or a Plaintiff
                      Class Member, where the Plaintiff or Plaintiff Class Member has
                      identified themselves as a member of the news media or it is
                      reasonably clear that the individual is engaged in news gathering
                      activities, except where Plaintiffs or Plaintiff Class Members present
                      an imminent threat of violence or bodily harm to persons or damage




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                    to property, or as otherwise justified by the presence of probable cause
                    for arrest;

             4.     The use of threatening language or gestures to harass or intimidate
                    Plaintiffs or a Plaintiff Class Member, where the Plaintiff or Plaintiff
                    Class Member has identified themselves as a member of the news
                    media or it is reasonably clear that the individual is engaged in news
                    gathering activities, except where Plaintiffs or Plaintiff Class
                    Members present an imminent threat of violence or bodily harm to
                    persons or damage to property.

      E.     Damages compensating Plaintiffs Goyette and Shum for their injuries,
             including but not limited to compensatory, pecuniary, and medical expense
             damages;

      F.     Punitive damages;

      G.     An award of pre-judgment interest;

      H.     An award of attorneys’ fees and costs pursuant to 42 U.S.C. § 1988;

      I.     An award of such other and further relief as the Court deems equitable and
             just.
                                 JURY DEMAND

      Plaintiffs demand a trial by jury of all issues triable pursuant to Rule 38 of the

Federal Rules of Civil Procedure.




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Dated: July 22, 2020                /s/ Kevin C. Riach
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